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     EXHIBIT 56
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data




                    Privacy Policy
                    Explore the policy

                    What is the Privacy Policy and what does it cover?                                                  v


                    What information do we collect?                                                                     v


                    How do we use your information?                                                                     v


                   How is your information shared on Meta Products or with inte-                                        v
                   grated partners?

                    How do we share information with third parties?                                                     v


                    How do the Meta Companies work together?                                                            v


                    How can you manage or delete your information and exercise your                                     v
                    rights?

                    How long do we keep your information?                                                               v


                    How do we transfer information?                                                                     v


                    How do we respond to legal requests, comply with applicable law                                     v
                    and prevent harm?

                    How will you know the policy has changed?                                                           v


                    Privacy notice for United States residents                                                          v


                    How to contact Meta with questions                                                                  v


                    Why and how we process your information                                                             v




                    Other policies

                   Terms of Service

                    Cookies Policy



                    What is the Privacy Policy and what does it
                    cover?

https://mbasic.facebook.com/privacy/policy/printable/                                                                            1/97


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                    Effective June 15, 2023

                    Read the United States Regional Privacy Notice for more details about how we han-
                    dle Personal Information and how to exercise your rights.




                       Highlights

                       • This Privacy Policy explains how we collect, use and share your information .
                         It also describes how long we keep your information and how we keep it safe
                         when we transfer it.

                       • The Privacy Policy also lets you know your rights

                       • This policy applies to what we call Meta Products, or Products. Our Products
                         include Facebook, lnstagram , Messenger and Portal.

                       • It also applies to Meta Quest if you log in with a Facebook or Meta account



                   We at Meta want you to understand what information we collect, and how we use
                   and share it. That's why we encourage you to read our Privacy Policy. This helps
                    you use Meta Productsl 1l in the way that's right for you.

                   In the Privacy Policy, we explain how we collect, use, share, retain and transfer in-
                   formation . We also let you know your rights. Each section of the Policy includes
                   helpful examples and simpler language to make our practices easier to understand .
                   We've also added links to resources where you can learn more about the privacy
                   topics that interest you .

                   It's important to us that you know how to control your privacy, so we also show you
                   where you can manage your information in the settings of the Meta Products you
                   use. You can update these settings to shape your experience.

                    Read the full policy below.


                      What Products does th is policy cover? (11                                                      >
                      Learn more in Privacy Center about managing your privacy                                        >
                       1


                       What Products does this policy cover?



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                       This policy describes the information we, Meta Platforms, Inc., process to pro-
                       vide Meta Products. Meta Products, which we also call "Products," include:

                       • Facebook

                       • Messenger

                       • lnstagram (including apps like Boomerang and Threads)

                       • Facebook Portal products

                       • Meta Platforms Technologies Products , such as Meta Horizon Worlds or
                         Meta Quest (when using a Facebook or Meta account)

                       • Shops

                       • Marketplace

                       • SparkAR

                       • Meta Business Tools

                       • Meta Aud ience Network

                       • Facebook View

                       • Meta Pay

                       • Meta checkout experiences


                       Some of our Products also have a supplemental privacy policy[2l that adds to
                       the information provided in th is policy.




                       2



https://mbasic.facebook.com/privacy/policy/printable/                                                                            3/97


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                       Supplemental policies

                          Facebook Portal products


                          Facebook View


                          Free Basics


                          Meta Platforms Technologies Products


                          Oversight Board




                    What information do we collect?

                       Highlights

                       In this policy we list the kinds of information we collect. Here are some impor-
                       tant ones. We collect:

                       • The information you give us when you sign up for our Products and create a
                         profile, like your email address or phone number

                       • What you do on our Products. This includes what you click on or like, your
                         posts and photos and messages you send. If you use end-to-end encrypted
                         messaging, we can't read those messages unless users report them to us for
                         review.

                       • Who your friends or followers are, and what they do on our Products

                       • Information from the phone, computer, or tablet you use our Products on , like
                         what kind it is and what version of our app you're using

                       • Information from partnersl3l about things you do both on and off of our
                         Products. This could include other websites you visit, apps you use or online
                         games you play.



                   The information we collect and process about you depends on how you use our
                    Products[4l. For example, we collect different information if you sell furniture on
                    Marketplace than if you post a reel on lnstagram. When you use our Products, we
                    collect some information about you even if you don't have an accountl5l.

                    Here's the information we collect:



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                       On our Products[4l, you can send messages, take photos and videos , buy or
                       sell things and much more. We call all of the things you can do on our Products
                       "activity." We collect your activity across our Products and information you
                       provide[6l, such as:

                       • Content you create, like posts, comments or audio[?]

                       • Content you provide through our camera feature or your camera roll settings,
                          or through our voice-enabled features. Learn more[8l about what we collect
                          from these features, and how we use information from the camera for
                          masks, filters , avatars and effects.

                       • Messages you send and receive , including their content, subject to applica-
                         ble law. We can't see the content of end-to-end encrypted messages unless
                         users report them to us for review.       more.

                       • Metadatal9l about content and messages, subject to applicable law

                       • Types of content, including ads, you view or interact with, and how you inter-
                         act with it

                       • Apps and features you use, and what actions you take in them. See
                           examples[ 1OJ.

                       • Purchases or other transactions you make, such as through Meta checkout
                           experiences, including credit card information . Learn morel 11 l.

                       • Hashtags you use

                       • The time, frequency and duration of your activities on our Products

                       Information with special protections

                       You might choose to provide information about your religious views, your sex-
                       ual orientation , political views, health, racial or ethnic origin, philosophical be-

https://mbasic.facebook.com/privacy/policy/printable/                                                                            5/97


                                                                                                                     PTRN-STARK_004800
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                       liefs or trade union membership. These and other types of information could
                       have special protections under the laws of your jurisdiction .



                       Friends, followers and other connections
                       Information we collect about your friends, followers and other
                       connections

                       We collect information about friends, followers, groups, accounts, Facebook
                       Pages and other users and communities you're connected to and interact with .
                       This includes how you interact with them across our Products and which ones
                       you interact with the most.

                       Information we collect about contacts

                       We also collect your contacts' information , such as their name and email ad-
                       dress or phone number, if you choose to upload or import it from a device[12l,
                       like by syncing an address book.

                       If you don't use Meta Products, or use them without an account, your informa-
                       tion might still be collected. Learn more about how Meta uses contact informa-
                       tion uploaded by account holders.

                       Learn how to upload and delete contacts on Facebook and Messenger, or how
                       to connect your device's contact list on lnstagram .

                       Information we collect or infer about you based on others' activity

                       We collect information about you based on others' activity. See some
                       examplesl 1

                       We also infer things about you based on others' activity. For example:

                       • We may suggest a friend to you through Facebook's People You May Know
                         feature if you both appear on a contact list that someone uploads.

                       • We take into account whether your friends belong to a group when we sug-
                         gest you join it.




                       App, browser and device information

                       We collect and receive information from and about the different devices[ 12l you
                       use and how you use them.

                       Device information we collect and receive includes:

                       • The device and software you're using, and other device characteristics. See
                           examples[ 14l.



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                       • What you're doing on your device, like whether our app is in the foreground
                         or if your mouse is moving (which can help tell humans from bots)

                       • Identifiers that tell your device apart from other users' , including Family
                           Device IDs.            examples[1

                       • Signals from your device .             examples[ 16l.

                       • Information you've shared with us through device settings, like GPS location ,
                           camera access, photos and related metadata[ 17l

                       • Information about the network you connect your device to and your connec-
                           tion , including your IP addressl 1              more examplesl 19l .

                       • Some location-related information, even if Location Services is turned off in
                         your device settings. This includes using IP addresses to estimate your gen-
                         eral location.

                       • Information about our Products' performance on your device . Learn mr,,rot."-VJ

                       • Information from cookies and similar technologies. Learn more.l21 l



                       Information from partners, vendors and other third parties
                       What kinds of information do we collect or receive?

                       We collect and receive information from partnersl22l, measurement vendors,
                       marketing vendors and other third partiesl23 l about a variety of your information
                       and activities on and off our Products[4l.

                       Here are some examples of information we receive about you:

                       • Your device[ 12l information

                       • Websites you visit and cookie data, like through Social Plugins or the Meta
                         Pixel

                       • Apps you use

                       • Games you play

                       • Purchases and transactions you make off of our Products using non-Meta
                         checkout experiences

                       • Your demographics, like your education level

                       • The ads you see and how you interact with them

                       • How you use our partners' products and services, online or in person

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                       Partners[3l also share information like your email address, cookiesl21 l and ad-
                       vertising device ID with us. This helps us match your activities with your ac-
                       count, if you have one.

                       We receive th is information whether or not you 're logged in or have an account
                       on our Products.        more about how we connect information from partners
                       to your account.

                       Partners also share with us their commun ications with you if they instruct us to
                       provide services to their business, like helping them manage their communica-
                       tions. To learn how a business processes or shares your information, read their
                       privacy policy or contact them directly.

                       Take control


                          ~ Off-Facebook activity                                                                © >
                       How do we collect or receive this information from partners?

                       Partners use our ,c,r,occ          integrations and Meta Audience Network
                       technolog ies to share information with us.

                       These partners collect your information when you visit their site or app or use
                       their services, or through other businesses or organizations they work with . We
                       require partners to have the right to collect, use and share your information be-
                       fore giving it to us.



                    What if you don't let us collect certain information?

                    Some information is required for our Products to work. Other information is optional,
                    but without it, the quality of your experience might be affected .

                    Learn more[24]


                    What if the information we collect doesn't identify
                    individuals?

                   In some cases information is de-identified , aggregated , or anonymized by third par-
                   ties so that it no longer identifies individuals before it's made available to us. We use
                   this information as described below without trying to re-identify individuals.


                   Take control

                                   Manage the information we collect about you
                                   Privacy Center                                                                     >

https://mbasic.facebook.com/privacy/policy/printable/                                                                            8/97


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                       3


                       Partner

                       A person, business, organization or body using or integrating our Products to
                       advertise , market or support their products and services




                       4




                       This policy describes the information we, Meta Platforms, Inc., process to pro-
                       vide Meta Products. Meta Products, which we also call "Products," include:

                       • Facebook

                       • Messenger

                       • lnstagram (including apps like Boomerang and Threads)

                       • Facebook Portal products

                       • Meta Platforms Technologies Products , such as Meta Horizon Worlds or
                         Meta Quest (when using a Facebook or Meta account)

                       • Shops

                       • Marketplace

                       • SparkAR

                       • Meta Business Tools

                       • Meta Aud ience Network

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                       • Facebook View

                       • Meta Pay

                       • Meta checkout experiences


                       Some of our Products also have a supplemental privacy policyl25 l that adds to
                       the information provided in this policy.




                       5


                       Information we collect and receive if you use or interact
                       with our Products but don't have an account

                       Even if you don't have an account, you may interact with or use
                       Products[4l. Then we collect things like:

                       • Browser and app logs of your visits to public content, like Facebook Pages,
                         videos and rooms

                       • Basic information about devices[12l that downloaded our apps, like device
                         model and OS

                       We also receive information using cookies and similar technologies, like the
                       Meta Pixel or Social Plugins, when you visit other websites and apps that use
                       our Business Tools or other Meta Products. Read more about information we
                       receive from partners, vendors and other third parties in this policy and in our
                       Cookies Policy.

                       Examples of why we collect and receive information
                       Security of our Products

                       For example, we collect information to monitor attempted attacks on our sys-
                       tems, such as overloading our servers with traffic. Also, if we see someone
                       without an account trying to load too many pages, they could be trying to
                       scrape our site in violation of our terms. Then we can take action to prevent it.

                       Safety and integrity

                       For example, if someone without an account joins a room and shares a harmful
                       video, we can take action according to our Community Standards. We can re-
                       move content that violates our terms and policies, or share information with law
                       enforcement when we believe there is a genuine risk of death or imminent bod-
                       ily harm.



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                       Advertising

                       For example, you may also see ads for the Meta Company Products shown
                       through       Audience Network when you visit other apps if we can't recog-
                       nize you as a registered user of the Meta Products.

                       Performance

                       For example, we collect information when people use our Products, even if
                       they don't have an account, to measure how fast our pages load in different
                       countries and whether they're working properly. This helps us identify and fix is-
                       sues with local networks.




                       6


                       Information you provide

                       For example, when you create a Facebook account, you must provide some in-
                       formation , like a password and your email address or phone number. You
                       might choose to add other details to your account, like a profile photo or pay-
                       ment information.

                       We also collect information you provide when you :

                       • Create your avatar

                       • Fill out a form

                       • Contact us



                       7


                       Audio content you create

                       You can create audio content, like if you're a host or speaker in an audio-only
                       broadcast. Anyone in the audience for the broadcast can listen to th is audio
                       content.




                       8


                           What we collect from our camera feature


https://mbasic.facebook.com/privacy/policy/printable/                                                                           11/97


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                           Jose likes using lnstagram's Camera feature to take pictures of his
                           flower garden. We collect information about how Jose uses the
                           Camera feature. For example, if he chooses a background effect for
                           the photo he's about to take, we collect information from the cam-
                           era so we can apply the effect to his photo.




                            How filters, effects, masks and avatars work




                           If you use our camera or allow access to photos and videos, oncer-
                           tain Meta Products you can add filters, effects, masks or avatars.
                           Some of these features process parts of faces or bodies within the
                           camera frame, photo or video. Then they can do things like fit a
                           mask correctly over the eyes, nose and mouth. The information we
                           use for this process is used to create the feature. It's not used to
                           identify you.




                           What we collect from voice-enabled features




https://mbasic.facebook.com/privacy/policy/printable/                                                                           12/97


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                            Ren tells Meta's voice- enabled Assistant to take a photo on Ray-
                            Ban Stories. A visual indicator shows that Assistant is activated and
                            listening for Ren's command. We collect this voice interaction,
                            which includes any background sound that occurs when Ren says
                            the command. Collecting Ren's voice interactions lets us provide
                            and, depending on Ren's settings, improve the Assistant feature.




                       9


                       Metadata
                       • Information about the content itself, like the location where a photo was
                         taken or the date a file was created

                       • Information about the message itself, like the type of message or the date
                         and time it was sent



                       10


                       Apps and features you use, and how you use them

                       For example, we log:

                       • What apps, posts, videos, ads, games, Shops and other content you view or
                         interact with on our Products

                       • What features you access from our messaging products

                       • When you use Social Plugins, Facebook Login, in-app browser link history
                         or autofill



https://mbasic.facebook.com/privacy/policy/printable/                                                                           13/97


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                       • Information about websites that you visit or interact with when you use our
                               browser.       more.


                       11


                       Purchases or other transactions

                       We collect information when you use our Products to buy or sell things or make
                       other financial transactions.

                       Some examples are:

                       • Purchases within an online game

                       • Donations to a friend's fundraiser

                       • Purchases in Marketplace, Shops or groups

                       • Purchases made using Meta Pay or other Meta checkout experiences

                       • Money transfers to friends and family (where available)

                       What we collect from transactions

                       When you buy things or make other payments in Marketplace, Shops or
                       groups, or use other Meta checkout experiences, we collect information about
                       your purchase or other financial transactions, like:

                       • Credit or debit card number and other card information

                       • Billing , shipping and contact details

                       • Items you bought and how many

                       • Other account and authentication information

                       Why we collect this information

                       We collect and store this information to personalize your experience on our
                       Products, for advertising and to allow you to access and view your payment
                       and transaction history, where available.

                       And , depending on your choices, you can use it the next time you shop to give
                       you easier, faster shopping experiences.


                       More in the Privacy Policy

                          How do we use your information?                                                            >
https://mbasic.facebook.com/privacy/policy/printable/                                                                           14/97


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                          How do we respond to legal requests, comply with applicable law and
                          prevent harm?                                                                              >

                       12


                       Device

                       Devices include computers, phones, hardware, connected TVs, Portal devices
                       and other web-connected devices.




                       13


                       When we collect information based on others' activity

                       For example, we collect information about you on Meta Products when others:

                       • Share or comment on a photo you're tagged in

                       • Send you a message

                       • Invite you to join a conversation

                       • Upload their address book that has your contact information in it

                       • Invite you to play a game



                       14


                       What device you're using, and other device
                       characteristics

                       We collect device information like:

                       • The type of device

                       • Details about its operating system

                       • Details about its hardware and software

                       • Brand and model

                       • Battery level


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                       • Signal strength

                       • Available storage

                       • Browser type

                       • App and file names and types

                       •

                       15


                       Identifiers that tell your device apart from other users'

                       Identifiers we collect include device IDs, mobile advertiser ID or IDs from
                       games, apps or accounts you use. We also collect Family Device IDs or other
                       identifiers unique to Meta Company Products associated with the same device
                       or account.




                       16


                       Device signals

                       Device signals include GPS, Bluetooth signals, nearby Wi-Fi access points,
                       beacons and cell towers.




                       17


                       Related metadata

                       For example, if you give us permission to access your device's camera roll , we
                       collect metadata . This metadata is from and about your photos and videos and
                       includes the date and time they were made. We use this to do th ings like re-
                       mind you when you have new photos to upload.




                       18


                       IP address

                       Stands for "internet protocol address." It's a unique number assigned to a de-
                       vice , like a phone or computer, that allows it to communicate over the internet.
                       Numbers are assigned according to standard guidelines, or protocols.
https://mbasic.facebook.com/privacy/policy/printable/                                                                           16/97


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                       Just like you need a mailing address to receive a letter from a friend , your de-
                       vice needs an IP address to receive information on the internet.




                       19


                       Information about the network you connect your de-
                       vice to and your internet connection

                       Information about your network and connection includes:

                       • The name of your mobile operator or internet service provider (ISP)

                       • Language

                       • Time zone

                       • Mobile phone number

                       • IP address

                       • Connection and download speed

                       • Network capability

                       • Information about other devices that are nearby or on your network

                       • Wi-Fi hotspots you connect to using our Products

                       One reason we collect this information is to make your experience better. For
                       example , if we know that your phone and TV are connected to the same net-
                       work, we can help you use your phone to control a video stream on your TV.


                       More in the Privacy Policy

                          How do we use your information?                                                            >

                       20


                       Information about our Products' performance on your
                       device

                       We collect device information to prevent, diagnose, troubleshoot and fix errors
                       and bugs. This includes how long the app was running , what model of device
                       you were using and other performance and diagnostic information .


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                       21


                       Information from cookies and similar technologies

                       Cookies are small pieces of text used to store information on web browsers.
                       We use cookies and sim ilar technologies, including data that we store on your
                       web browser or device, identifiers associated with your device and other soft-
                       ware, Social Plugins and the Meta Pixel. They help us provide, protect and im-
                       prove our Products, such as by personalizing content, tailoring and measuring
                       ads and providing a safer experience.

                       We collect information from cookies stored on your device, including cookie IDs
                       and settings.

                       Read our cookie policies:

                       • Meta Cookies Policy

                       • lnstagram Cookies Policy



                       22


                       Types of partners
                       Partners


                       Our partnersl3l use our Products, including our Business Tools and other tech-
                       nologies that allow businesses to advertise or support their products. Business
                       Tools also help our partners understand and measure how people are using
                       their products and services and how well their ads are working . For example,
                       they might put one of our Business Tools, the Meta Pixel , on their website. Or
                       they might use Meta Audience Network tools to monetize their apps by show-
                       ing ads from businesses that advertise on Facebook.

                       Integrated partners


                       Integrated partners[26l also use our Products, specifically the technologies that
                       help you make a connection to them. For example, you might log into their app
                       or website using Facebook Login . Or you might play their game on Facebook,
                       which we call an integration because you can play without leaving our app.

                       Who are our partners and integrated partners?

                       Here are some examples:


https://mbasic.facebook.com/privacy/policy/printable/                                                                           18/97


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                       • Advertisers

                       • Businesses and people that use our Products to sell or offer goods and
                         services

                       • Publishers (like a website or app) and their measurement vendors

                       • App developers

                       • Game developers

                       • Device manufacturers, internet service providers and mobile network
                         operators

                       • E-commerce platforms



                       23


                       Other third parties we get information from

                       Some people, businesses, organizations and bodies share information with
                       Meta but don't necessarily use our Products. We collect and receive informa-
                       tion from these other third parties[27l, including:

                       • Publicly available sources, like academic papers and public forums

                       • Industry peers, such as other online platforms and technology companies

                       • Marketing and advertising vendors and data providers, who have the rights
                         to provide us with your information

                       • Compan ies or organizations that provide content, including videos, photos,
                         and audio

                       • Law enforcement

                       • Government authorities

                       • Professional and non-profit groups, like NGOs, and charities

                       • Academic and research institutions, like universities, non-profit research
                         groups and think tanks

                       Third-party public sources

                       For example, we get datasets from publicly available sources, research institu-
                       tions and professional and non-profit groups. We use these datasets to:

                       • Detect and stop scraping in violation of our terms

https://mbasic.facebook.com/privacy/policy/printable/                                                                           19/97


                                                                                                                     PTRN-STARK_004814
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                       • Take other actions to promote the safety, security and integrity of our
                         Products, our users, the public and our personnel and property

                       • Improve our Al technologies and support Al research and product develop-
                         ment, such as translations , computer vision, content understanding, natural
                         language processing, and tools for people and businesses to create content

                       • Engage with research survey respondents who choose to participate in addi-
                         tional conversations


                       More in the Privacy Policy

                          How do we use your information?                                                            >

                       24


                       What happens if you don't let us collect certain
                       information

                       For example, if you don't provide an email address or phone number, we won't
                       be able to create an account for you to use our Products.

                       Or you can choose not to add Facebook friends , but then your Facebook Feed
                       won't show friends' photos and status updates.




                       25


                       Supplemental policies

                          Facebook Portal products


                          Facebook View


                          Free Basics


                          Meta Platforms Technologies Products


                          Oversight Board




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https://mbasic.facebook.com/privacy/policy/printable/                                                                           20/97


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                       Integrated partner

                       A partner who uses technologies that help you make a connection to them
                       through our Products, including plugins, login , checkout experiences, instant
                       games, and other such integrations




                       27


                       Third party

                       A person, business, organization or body that is not part of the Meta
                       Companies



                    How do we use your information?

                       Highlights

                       Here are some of the ways we use your information :

                       • We personalize your experience, like by suggesting reels to watch or com-
                         munities to join

                       • We improve our Products by applying information about what you use them
                         to do, and what else is happening on your device when our app crashes

                       • We work to prevent harmful behavior and keep people safe on our Products

                       • We send you messages about the Products you use or ones you might like,
                         if you let us

                       • We research for the good of people around the world, like to advance tech-
                         nology or to help out in a crisis



                    We use information we col lect to provide a personalized experience to you , includ-
                    ing ads, along with the other purposes we explain in detail below.


                    For some of these purposes, we use information across our Products[28l and across
                   your devices[29l. The information we use for these purposes is automatically pro-
                    cessed by our systems. But in some cases, we also use manual rA,.11A\.Ml"VJ to ac-
                    cess and review your information.

                   To use less information that's connected to individual users, in some cases we de-
                   identify or aggregate information or anonymize it so that it no longer identifies you .
https://mbasic.facebook.com/privacy/policy/printable/                                                                           21/97


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                   We use this information in the same ways we use your information as described in
                   this section .

                    Here are the ways we use your information:


                   To provide, personalize and improve our Products

                    We use information we have to provide and improve our Productsl31 l. This includes
                    personalizing features , content and recommendations, such as your Facebook
                   Feed[32 l, lnstagram      Stories and ads. We use information with special protec-
                   tions you choose to provide for these purposes, but not to show you ads.

                    Read more about how we use information to provide, personalize and improve our
                    Products:



                       How we show ads and other sponsored or commercial content
                       When you use our Products, you see ads and sponsored or commercial con-
                       tent, like product listings in Shops. You also see ads shown through Meta
                       Audience Network when you visit other apps. We want everything you see to
                       be interesting and useful to you .

                       To decide what to show you and others, we use information we have about you ,
                       including:

                       • Your profile information

                       • Your activity on and off our Products, including information we receive
                         through cookies and similar technologies, according to your settings

                       • Content you create or interact with across Facebook and lnstagram

                       • Things we infer about you, like topics we think you may be interested in

                       • Information about your friends, followers or other connections, including their
                         activity or interests

                       See some examplesJ33 l

                       Learn more about some of the ways we show you ads that we th ink may be in-
                       teresting to you , including using machine learning .

                       Take control


                                      Learn more about how ads work
                                      Privacy Center                                                                 >
                                                        Manage ad preferences

https://mbasic.facebook.com/privacy/policy/printable/                                                                           22/97


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                       How we use information to improve our Products
                       We're always trying to make our Products better and create new ones with the
                       features you want. Information we collect from you helps us learn how.

                       We use information we collect to:

                       • See if a product is working correctly

                       • Troubleshoot and fix it when it's not

                       • Test out new products and features to see if they work

                       • Get feedback on our ideas for products or features

                       • Conduct surveys and other research about what you like about our Products
                         and brands and what we can do better




                       How we use location-related information
                       We use location-related information that you allow us to receive if you turn on
                       the Location Services device setting . This includes th ings like your GPS loca-
                       tion and, depending on the operating system you're using , other device
                       signals[34 l.

                       We also receive and use some location-related information even if Location
                       Services is turned off. This includes:

                       • IP addresses[35l, which we use to estimate your general location. We can
                         use IP addresses to estimate your specific location if it's necessary to protect
                         the safety and security of you or others.

                       • Your and others' activity on our Products, like check-ins and events

                       • Information you give us directly, like if you enter your current city on your pro-
                         file, or provide your address in Marketplace

                       We use location-related information , such as your current location , where you
                       live, the places you like to go and the businesses and people you're near, to do
                       the things described in the "How do we use your information?" section of the
                       Policy, like:

                       • Provide, personalize and improve our Products, including ads, for you and
                          others.           an example[3 6l.

                       • Detect suspicious activity and help keep your account secure. Learn how. [371

                       Take control


https://mbasic.facebook.com/privacy/policy/printable/                                                                            23/97


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                          How to manage Facebook location settings
                          Facebook


                          How to turn lnstagram location services on or off
                          lnstagram Help Center


                                                        Manage location settings


                   To promote safety, security and integrity

                    We use information we collect to help protect people from harm and provide safe,
                    secure Products.

                             more

                   To provide measurement, analytics and business services

                   Lots of people rely on our Products to run or promote their businesses. We help
                   them measure how well their ads and other content, products and services are
                   working .

                    Learn more

                   To communicate with you

                   We communicate with you using information you've given us, like contact informa-
                   tion you've entered on your profile.

                    Learn more

                   To research and innovate for social good

                    We use information we have, information from researchers and datasets from pub-
                    licly available sources, professional groups and non-profit groups to conduct and
                    support research .

                             more



                       Promoting safety, security and integrity
                       Here are some ways we promote safety, security and integrity. We work to:

                       • Verify accounts and activity

                       • Find and address violations of our terms or policies. In some cases, the deci-
                         sions we make about violations are reviewed by the Oversight Board. They



https://mbasic.facebook.com/privacy/policy/printable/                                                                           24/97


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                           may use information we have when they review our decisions. Learn more
                           about how the Oversight Board processes information.

                       • Investigate suspicious activity

                       • Detect, prevent and combat harmful or unlawful behavior

                       • Identify and combat disparities and racial bias against historically marginal-
                         ized communities

                       • Detect and prevent spam and other bad experiences

                       • uc.,.c.,.,. when someone needs help and provide support
                       • Detect and stop threats to our personnel and property

                       • Maintain the integrity of our Products

                                more about how we work to keep Meta a safe place for everyone.

                       Take control


                          &J Account security                                                                         >

                       Providing measurement, analytics and business services
                       To provide measurement and analytics services, we use the information we col-
                       lect about you across your accounts on our Products.

                       Our measurement and analytics services help our partners[38l understand
                       things like:

                       • How many people see and interact with their products, services or content,
                         including posts, videos, Facebook Pages, listings, Shops and ads (including
                         those shown through apps using Meta Audience Network)

                       • How people interact with their content, websites, apps and services

                       • What              of peoplel39 l interact with their content or use their services

                       • How people use our partners' products and services to connect to Meta
                         Products, the performance of their connection and networks and users' ex-
                         perience with them

                       We also use the information we collect to provide business services .

                       More in the Privacy Policy




https://mbasic.facebook.com/privacy/policy/printable/                                                                            25/97


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                         How do we share information with partners, vendors, service providers
                         and other th ird parties?                                                                   >

                       Communicating with you
                       We communicate with you in a few different ways. For example:

                       • We send messages about the Products we know you use, using the email
                         you register to your account

                       • Depending on your settings, we send marketing communications about
                         Products you might like

                       • We ask you to participate in research based on things like how you use our
                         Products

                       • We let you know about our policies and terms of service

                       • When you contact us with questions, we reply to your email

                       • We facilitate customer support communications with you when you've told
                           us, either directly or through a third partyl40 l, that you have questions or con-
                           cerns about our Products

                       We also use information about how you interact with our messages, like if you
                       open an email from us. This helps us understand the best way to reach you
                       and whether our communications are helpful.

                       Take control


                          B      Communication preferences                                                           >

                       Researching and innovating for social good
                       We research and innovate to help people around the world. Our goals include:

                       • Contributing to social good and areas of public interest

                       • Advancing technology

                       • Improving safety, health and well-being

                       Here are some examples of our research:

                       • We analyze information about where groups of people go during crises. This
                         helps rel ief organ izations get aid to the right places.

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                       • We work with independent researchers to better understand the impact so-
                         cial media might have on elections and democratic processes

                       • We've collaborated with academics and industry experts to help improve in-
                         ternet access and quality in rural areas

                       • We support research in areas like artificial intelligence and machine learning
                         to do things like create COVI D-19 forecasting models

                                more about our research programs



                    More in the Privacy Policy

                      Why and how we process your information                                                         >
                       28


                       Using information across our Products

                       We use information across your accounts on our Products to:

                       • Personalize ads for you and others. Learn more.

                       • Measure the performance of those ads. Learn more.

                       • Provide more personalized features, content and suggestions across our
                            Products. See examplesl41 l.

                       • More accurately count people and understand how they use our Products

                       • Help keep you and others safe. Learn more.

                       If you add accounts to the same Accounts Center, we also use your information
                       to offer r-r,,,nc,r-tt,,r1 experiences and improve your experiences across ac-
                       counts. See an example ) 42 l


                       Take control

                          How to add or delete accounts in your Accounts Center
                          Facebook Help Center




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https://mbasic.facebook.com/privacy/policy/printable/                                                                           27/97


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                       Why we use information across devices

                       One reason we use your information across devices[43 l is to help us give you a
                       more personalized experience. For example, we might show you an ad on your
                       phone, and later you might use your laptop to cl ick on the ad and buy the prod-
                       uct. By combining that information across your devices, we can understand
                       what ads are relevant to you and help businesses measure how well their ad
                       performed .




                       30


                       Manual review
                       Examples of when we use manual review

                       • Our reviewers help us promote safety, security and integrity across our
                         Products. For example, reviewers can look for and remove content that vio-
                         lates our terms and policies and keep content that doesn't break our terms
                         and policies available. Their work supplements our technology that detects
                         violations.

                       • When our algorithms detect that someone might need help, a reviewer can
                         review their post and offer support if needed.

                       • We also use manual review to analyze content to train our algorithms to re-
                         view content the same way a person would. This improves our automatic
                         processing, which in turn helps us improve our products.

                       Who reviews this information

                       Our reviewers work at Meta, for                Companies or for a trusted service
                       providerl44 l. We require every reviewer who's allowed access to your informa-
                       tion to meet privacy and security standards.

                       Learn more about how Meta prioritizes content for manual review.




                       31


                       What Products does this policy cover?




https://mbasic.facebook.com/privacy/policy/printable/                                                                           28/97


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                       This policy describes the information we, Meta Platforms, Inc., process to pro-
                       vide Meta Products. Meta Products, which we also call "Products," include:

                       • Facebook

                       • Messenger

                       • lnstagram (including apps like Boomerang and Threads)

                       • Facebook Portal products

                       • Meta Platforms Technologies Products , such as Meta Horizon Worlds or
                         Meta Quest (when using a Facebook or Meta account)

                       • Shops

                       • Marketplace

                       • SparkAR

                       • Meta Business Tools

                       • Meta Aud ience Network

                       • Facebook View

                       • Meta Pay

                       • Meta checkout experiences


                       Some of our Products also have a supplemental privacy policy[45 l that adds to
                       the information provided in th is policy.




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https://mbasic.facebook.com/privacy/policy/printable/                                                                           29/97


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                       How we personalize your Facebook Feed

                       Your Facebook Feed is unique to you. We order (or "rank") the content you can
                       see in your Feed, and you can learn more about the different types of signals
                       we use to rank it. We also suggest content that's relevant to you .

                       Many things influence the content you see in your Feed.

                       For example:

                       • If your friends, connections or people you may know interact with a
                         Facebook Page, post or certain topic, we can suggest similar content to you .
                         So if your friend Ahmad comments on a post about national parks, we can
                         suggest the national parks post to you.

                       • If you and others interact with the same group, Facebook Page or post, we
                         can suggest another group, Page or post that they interact with for you. So if
                         you and Sharmila are in the same cat lovers group and Sharmila likes a
                         Page that sells scarves, we might suggest the scarves Page to you.

                       • If you've recently engaged with a certain topic on Facebook, we might then
                         suggest other posts that are related to that topic. So if you recently liked or
                         commented on a post from a basketball Page, we could suggest other posts
                         about basketball.

                       • You might see posts based on where you are and what people near you are
                         interacting with on Facebook. So if you're near a sports stadium, we can
                         suggest games or events occurring at the stadium. Learn more about how
                         we use location-related information.


                       Take control

                          How to manage your Facebook Feed
                          Facebook Help Center


                          How to manage your lnstagram feed
                          lnstagram Help Center


                                                        Manage Facebook Feed



                       33


                            Your activity on our Products




https://mbasic.facebook.com/privacy/policy/printable/                                                                           30/97


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                           For example, William checks into a local bakery on Facebook, so
                           later we might show him ads on lnstagram for other local bakeries.




                           Your activity on third-party websites and apps, depending
                           on your settings




                           For example, Jane buys a pair of shoes from an on line shoe store or
                           in an online chat with a shoe seller. The seller shares Jane's activity
                           with us using our Business Tools, subject to our Business Tools
                           Terms.

                           Later, Jane sees an ad on lnstagram for a discount on her next shoe
                           purchase from the online store.

                           If she doesn't want to see ads from this shoe store again, she can
                           hide them in her Advertisers settin g. Or if she doesn't want us to
                           show her any ads based on her activity on other websites and apps,
                           she can make sure that this setting is turned off in her ad
                           p references.




                           Topics we think you might be interested in
https://mbasic.facebook.com/privacy/policy/printable/                                                                           31/97


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                            For example, Jon likes several Facebook Pages about famous musi-
                            cians, so we think he has an interest in "music."

                            Based on this interest, we might show him an ad for a local record
                            shop or an online music publication.

                            Jon can manage his interests in his ad to pi cs.




                            Your connections




                            For example, Fiona's friend likes an lnstagram account for a local art
                            fair. Based on her friend's activity, we might show Fiona an ad for
                            the art fair.




                       34


                       Other device signals we receive



https://mbasic.facebook.com/privacy/policy/printable/                                                                           32/97


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                       We receive different types of device signals from different operating systems.
                       They include things like nearby Bluetooth or Wi-Fi connections.




                       35


                       IP address

                       Stands for "internet protocol address." It's a unique number assigned to a de-
                       vice , like a phone or computer, that allows it to communicate over the internet.
                       Numbers are assigned according to standard guidelines, or protocols.

                       Just like you need a mailing address to receive a letter from a friend , your de-
                       vice needs an IP address to receive information on the internet.




                       36




                            For example, Marcus is going on a trip and wants to use Find Wi- Fi
                            to find free, public Wi- Fi at the airport. He has turned on Location
                            Services on his device and allowed location access on the Facebook
                            app, so we can use his GPS information to help him find the most
                            relevant public Wi- Fi networks. We'll also use this information to
                            show him ads for local businesses near the airport.

                            Later, Marcus turns off Location Services before he lands, so we
                            don't collect his GPS information anymore. Later on his trip, he
                            opens the Facebook app, and we can use the IP address we receive
                            to estimate Marcus' general location and show him ads for busi-
                            nesses nearby.




https://mbasic.facebook.com/privacy/policy/printable/                                                                           33/97


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                       Helping to keep your account secure

                       For example, we use information about the locations you normally log in from,
                       combined with other information , to detect suspicious activity. So if we detect
                       an attempt to log into your account from a new location , we can check that it's
                       really you .




                       38


                       Partner

                       A person, business, organization or body using or integrating our Products to
                       advertise , market or support their products and services




                       39


                       Information we provide about different types of people

                       For example, we might tell an advertiser that their ad was seen by women
                       aged 25- 34 who live in Madrid and like software engineering .




                       40


                       Third party

                       A person, business, organization or body that is not part of the Meta
                       Compan ies




                       41


                       Providing more personalized features, content and sug-
                       gestions across our Products

                       For example we can:




https://mbasic.facebook.com/privacy/policy/printable/                                                                           34/97


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                       • Automatically fill in registration information , like your phone number, from
                         one Meta Product when you sign up for an account on a different Product

                       • Let others see and search your name and profile photo across our Products
                         and communicate with you

                       • Show all interactions in one place for content you've cross-posted to differ-
                         ent Products



                       42


                       Using your information if you add accounts to the same
                       Accounts Center

                       For example, if you follow your favorite team on lnstagram , we can more easily
                       suggest that you follow that team's Page on Facebook.

                       Learn more about how we use information across accounts if you add ac-
                       counts to the same Accounts Center.




                       43


                       Device

                       Devices include computers, phones, hardware, connected TVs, Portal devices
                       and other web-connected devices.




                       44


                       Service provider

                       A person, business, organization or body that provides services to Meta or to
                       our users on behalf of Meta . For example , our service providers do things like
                       investigate suspicious activity and provide customer support.




                       45


                       Supplemental policies


https://mbasic.facebook.com/privacy/policy/printable/                                                                           35/97


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                          Facebook Portal products                                                                   ~


                          Facebook View                                                                              ~


                          Free Basics                                                                                ~


                          Meta Platforms Technologies Products


                          Oversight Board




                    How is your information shared on Meta
                    Products or with integrated partners?

                       Highlights

                       • You can choose to share information on our Products or with integrated
                         partners

                       • Remember to share only with people you trust

                       • You might decide to use a product that integrates with one of ours, like if you
                         use Facebook Login to log into a music service or a shopping site

                       • If you do, that organization will ask you to receive some information about
                         you , like your email address or birthday




                    On Meta Products


https://mbasic.facebook.com/privacy/policy/printable/                                                                           36/97


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                    Learn more about the different cases when your information can be shared on our
                    Products[46l:



                       People and accounts you share and communicate with
                       When you share and communicate using our Products, you can sometimes
                       choose the audiencel47l for what you share.

                       When you interact with people or businesses, they can see:

                       What you share with them

                       For example, the audience you choose can see when you :

                       • Share a post you've written

                       • Share a photo or video

                       • Create a story

                       • Share a news article

                       • Add information to your profile

                       What you communicate with them

                       People you interact with can see what you send to them . So if you send a per-
                       son or a business a message on Messenger or lnstagram, that person or busi-
                       ness can read your message.

                       Some of your activity

                       People and businesses can also see some of your activity on our Products.
                       This includes when you:

                       • Comment on or react to others' posts

                       • Engage with ads or other sponsored or commercial content, like by com-
                         menting or liking

                       • Allow content you've shared about a product in a Shop to be shared across
                         our Products

                       • View their story on Facebook or lnstagram

                       • Connect a new Meta device, like Portal or Ray-Ban Stories, to your account

                       When you're active

                       Some of our Products might provide you with settings that allow others to see
                       when you're active on our Products, such as "active status." In some cases, we
                       also offer settings that allow others to see when you're active in a particular


https://mbasic.facebook.com/privacy/policy/printable/                                                                           37/97


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                       section of one of our Products, like a message thread , game or event, or when
                       you last used one of our Products.

                       Learn how to update your Active Status on Facebook and 1V1eiss1en~~er or how
                       to update your Activity Status on lnstagram.



                       Content others share or reshare about you
                       Who can see or reshare your content

                       People in your audience can view your content and can choose to share it with
                       others outside your audience, on and off our Products. For example, when you
                       share a post or send a message to specific friends , they can download , screen-
                       shot or reshare it with anyone, on, across or off our Products.

                       When you comment on a post or react to a photo, your comment or reaction
                       can be seen by anyone who can see the post or photo. This can include people
                       you aren't connected to . The person who shared the post can also change their
                       audience at any time after you've interacted with it.

                       How information about you can be shared

                       People who use our Products can share information about you with the audi-
                       ence they choose. For example, they can:

                       • Share a photo or video of you in a post, comment, story, reel or message

                       • Mention you in a post or story

                       • Tag you in a post, comment, story or location

                       • Share details about you in a post, story or message

                       If you're uncomfortable with what others have shared about you on our
                       Products, you can always choose to report posts and ctr,rio,c

                       Take control


                          Remove a tag from a photo or post on Facebook
                          Facebook


                          Remove a tag from a photo or video on lnstagram
                          lnstagram Help


                                                               Manage tags



                       Public content
                       What content is public?

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                       Some of your information and activity are always public. This includes your
                       name, Facebook and lnstagram username, profile picture and activity on public
                       Facebook Pages and groups.

                       Other content you can choose to set to Public, like posts, photos and videos
                       you post to your profile, Stories or Reels.

                       Who can see public content?

                       When content is public, it can be seen by anyone on or across our Products,
                       and in some cases off our Products, even if they don't have an account.

                       For example, if you comment on Marketplace, a public Facebook Page or a
                       public lnstagram account, or if you leave a rating or review, your comment, rat-
                       ing or review will be visible to anyone. It could appear in any of our Products or
                       be seen by anyone, including off our Products.

                       Where can public content be shared?

                       We, you and people using our Products can send public content (like your pro-
                       file photo, or information you share on a Facebook Page or public lnstagram
                       account) to anyone on, across or off our Products. For example , users can
                       share it in a public forum , or it can appear in search results on the internet.

                       Public content can also be seen, accessed, reshared or downloaded through
                       third-party services, like :

                       • Search engines. Learn morel48 l.

                       • AP ls

                       • The media, like TV

                       • Other apps and websites connected to our Products

                       Take control


                          Public information on Facebook
                          Facebook Help Center


                          How to make a public account private on lnstagram
                          lnstagram Help Center




                    With integrated partners

                    You can choose to connect with integrated partners[49l who use our Products. If you
                    do, these integrated partners receive information about you and your activity.


https://mbasic.facebook.com/privacy/policy/printable/                                                                           39/97


                                                                                                                     PTRN-STARK_004834
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                   These integrated partners can always access information that's public on our
                   Products. Learn more about other information they receive and how they handle
                   your information:


                       When you use an integrated partner's product or service
                       Information they receive automatically

                       When you use an integrated partner's products or services, they can access:

                       • What you post or share from these products or services

                       • What you use their services to do

                       • Information from and about the device you're using

                       • The language setting you've chosen on our Products

                       See examples[50l of when an integrated partner might receive your information .

                       Information they receive with your permission

                       Sometimes these integrated partners ask you for permission to access certain
                       additional information from your Facebook, lnstagram or Messenger account.
                       In their request, they'll explain what information they'd like to access and let
                       you choose whether to share it.

                       On Facebook, th is includes th ings like your email address, hometown or birth-
                       day. On lnstagram, this includes content, like photos and videos , that you've
                       shared from your account when the account was set to private.

                       Learn what happens if you choose to share your friends                       or if your friends
                       choose to share their friends list.[51 l

                       We automatically log when you receive a request from an integrated partner to
                       access your information. These requests to access information are separate
                       from the Apps and Websites access that you manage in your Facebook or
                       lnstagram ad settings or in your mobile device settings.

                       How long they can access your information

                       Apps or websites you've logged into using Facebook Login or connected to
                       your lnstagram account can access your nonpublic information on Meta
                       Products unless it appears to us that you haven't used the app or website in 90
                       days. Note that even if an app's access to your information has expired , it can
                       still retain information you shared with it previously.

                       We encourage you to visit your Apps and Websites settings from time to time to
                       review which apps and websites continue to have access to your information
                       through Facebook Login or lnstagram .

                       Take control

https://mbasic.facebook.com/privacy/policy/printable/                                                                           40/97


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9/26/23, 9:08 AM                                         Meta Privacy Policy - How Meta collects and uses user data


                          How to manage apps and websites on Facebook
                          Facebook Help Center


                          How to manage apps and websites on lnstagram
                          lnstagram Help


                                                        Manage apps and websites



                       When you interact with someone else's content on an integrated
                       partner's product or service
                       Integrated partners receive information about your activity when you interact
                       with other Facebook, lnstagram or Messenger users while they're using the in-
                       tegrated partner's product or service.

                       For example, a gamer livestreams to Facebook using a partner app. Then you
                       comment on that livestream . The app developer will receive information about
                       your comment.




                       How integrated partners handle your information
                       Integrated partners handle the information you share with them according to
                       their own terms and policies, not Meta's. You can review their privacy policy on
                       their website or app to learn how they receive and process your information . In
                       some cases, they use a separate service provider to receive and process your
                       information.

                       More resources


                          How Meta reviews apps that integrate with our Products
                          Facebook Developers




                   Take control

                                   Learn more about audiences
                                   Privacy Center                                                                      >
                                                        Manage apps and websites



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https://mbasic.facebook.com/privacy/policy/printable/                                                                            41/97


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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data




                       This policy describes the information we, Meta Platforms, Inc., process to pro-
                       vide Meta Products. Meta Products, which we also call "Products," include:

                       • Facebook

                       • Messenger

                       • lnstagram (including apps like Boomerang and Threads)

                       • Facebook Portal products

                       • Meta Platforms Technologies Products , such as Meta Horizon Worlds or
                         Meta Quest (when using a Facebook or Meta account)

                       • Shops

                       • Marketplace

                       • SparkAR

                       • Meta Business Tools

                       • Meta Aud ience Network

                       • Facebook View

                       • Meta Pay

                       • Meta checkout experiences


                       Some of our Products also have a supplemental privacy policy[52 l that adds to
                       the information provided in this policy.




                       47

https://mbasic.facebook.com/privacy/policy/printable/                                                                           42/97


                                                                                                                     PTRN-STARK_004837
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                       Choosing an audience

                       On Facebook, the audience can be made up of:

                       • The public, including people on and off Facebook

                       • Your friends and other connections, such as the friends of people you tag

                       • A customized list of people

                       • Yourself

                       • The members of a single community, such as a group

                       On lnstagram, you can set the audience for what you share by choosing be-
                       tween a private or public account. With a private account, only followers you
                       approve can see what you share. With a public account, your posts and other
                       content on lnstagram can be seen by anyone, on or off our Products, including
                       if they don't have an account. You can restrict the audience for your content by
                       blocking individual accounts from viewing them . You can also create a close
                       friends list for certain types of content that only the people on that list can see.


                       Take control

                          Audience settings
                          Manage your audience settings on Facebook or lnstagram.                                    >
                       Audience settings are different from app permissions

                       Your audience settings are different from the permissions you give to individual
                       apps and websites to access your information . Read ou r policy about how you
                       may share information with integrated partners.




                       48


                       Search engines

                       You can visit your privacy settings to control whether search engines outside
                       Facebook can link to your profile. But other public content- like if you post with
                       your audience set to Public, or post on public Pages or accounts-might still be
                       accessible through search engines, depending on the settings of that account.




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https://mbasic.facebook.com/privacy/policy/printable/                                                                           43/97


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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                       Integrated partner

                       A partner who uses technologies that help you make a connection to them
                       through our Products, including plugins, login , checkout experiences, instant
                       games, and other such integrations




                       50


                            When an integrated partner might receive your information




                            For example, you might use your Facebook login to play an online
                            game with your Facebook friends. The game developer automati-
                            cally receives information about your activities in the game.




                                                                                                    information




                            Or you might use the Facebook Like button on an article posted on
                            a news website. The website developer automatically receives infor-
                            mation about your Like on their article.




https://mbasic.facebook.com/privacy/policy/printable/                                                                           44/97


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                       51


                       Sharing friends lists
                       When you share your friends list

                       If you use Facebook Login to log into an app, the app developer might request
                       access to your list of Facebook friends . Here's what happens if you give the
                       app developer permission to view these lists:

                       • They can view and access a list of your Facebook friends who use the same
                         app and have given the app permission to access their list of friends. They
                         can't access nonpublic information about your friends or followers through
                         th is process. Note that the app developer will receive more information
                         about your friends if your friends choose to share it themselves. They can
                         share it by providing the information directly or giving the developer permis-
                         sion to access information from their account.

                       • You'll appear on friends lists that your Facebook friends can choose to share
                         with the same app. You can remove this permission , or the app entirely, if
                         you later decide that you don't want to share your friends list with an app, or
                         don't want to appear on other friends lists shared with that app.

                       When your friends share their friends list

                       Your friends might choose to share their friends lists with app developers
                       through Facebook Login . But your friends can't use Facebook Login to share
                       nonpublic information about you .




                       52


                       Supplemental policies

                          Facebook Portal products


                          Facebook View


                          Free Basics


                          Meta Platforms Technologies Products


                          Oversight Board




https://mbasic.facebook.com/privacy/policy/printable/                                                                           45/97


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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data


                    How do we share information with third parties?

                       Highlights

                       We share certain information with :

                       • Advertisers who show ads on our Products

                       • Businesses we hire to market our Products for us

                       • Businesses we hire to do things like offer customer service or conduct
                         surveys

                       • Researchers who use it to do things like innovate, advance technology, or
                         improve people's safety

                       We don't sell your information , and we never will.




                    We don't sell any of your information to anyone, and we never will. We also require
                    partners[53 l and other third parties[54l to follow rules about how they can and cannot
                    use and disclose the information we provide.

                    Here's more detail about who we share information with:


                    Partners


                       Advertisers and Audience Network publishers
                       Advertisers

                       We provide advertisers with reports about the number and kinds of people who
                       see and engage with their ads. These reports include information about the
https://mbasic.facebook.com/privacy/policy/printable/                                                                           46/97


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                       general demographics and interests of people who engaged with an
                       advertiser's ad . Then advertisers can better understand their audience.                      an
                       example[55l.

                       Meta also provides advertisers and their vendors with information about:

                       • Ads people engaged with, if any

                       • When people engaged with ads

                       • Where that ad was shown (for example, on lnstagram , or on Facebook)

                       We also confirm which ads you viewed that led you to take an action with an
                       advertiser, such as downloading an advertiser's app. But we don't share infor-
                       mation with these advertisers and their vendors that by itself can be used to
                       contact or identify you, such as your name or email address, unless you give us
                       permission.[56l

                       Audience Network publishers and their vendors

                       Meta Audience Network lets advertisers place ads with us that will be published
                       on other apps and websites outside of Meta.

                       To help show you ads on their apps and websites , we share information with
                       publishers who use Audience Network, as well as vendors who facilitate that
                       use. For example, we share:

                       • How many people see and engage with ads on publisher apps

                       • Information related to or in response to a publisher's request to serve an ad
                         on its app.

                       But we don't share information with these publishers and their vendors that by
                       itself can be used to contact or identify you, such as your name or email ad-
                       dress, unless you give us permission[56 l.



                       Partners who use our analytics services

                       People rely on our Productsl57l, like business accounts, professional tools and
                       Facebook Pages, to run and promote their businesses. Businesses use our an-
                       alytics services to understand more about how people are using their content,
                       features, products and services.

                       To provide these services, we use the information we collect about you . We put
                       this information into aggregate reports so that partners can see how well their
                       content, features, products and services are performing and are able to under-
                       stand things like users' experience with such content, products and services.

                       These reports aggregate information like:

                       • How many people interacted with our partners' content, products or services
https://mbasic.facebook.com/privacy/policy/printable/                                                                           47/97


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                       • The general demographics and interests[55l of the people who interacted
                         with it

                       • How people use our partners' products and services to connect to Meta
                         Products and the performance of their connection and networks

                       Advertisers also receive other information . Read our policy about how we share
                       information with advertisers.




                       Partners who offer goods or services on our Products and com-
                       merce services platforms

                       When you choose to make a transaction[58l , or otherwise choose to share infor-
                       mation with a seller, creator, fundraiser, charity, payment services provider or
                       commerce services platform[59 l , we share information with them and with any
                       providers acting on their behalf.

                       Depending on how you interact with them, they receive :

                       • Information to complete your transaction , like order, payment, contact and
                         shipping information

                       • Information to help ensure the security of the transaction, like information
                         about your device or connection

                       • Any information requ ired by applicable regulation

                       • Other information you choose to share with them

                       For example, if you make a purchase from an lnstagram shop using checkout,
                       the shop will receive information to complete your transaction . This may include
                       your order items , your contact details and shipping information. If the shop uses
                       a payment services provider, such as PayPal , to facilitate the transaction , the
                       provider will receive the transaction amount, a transaction description (to ap-
                       pear on your credit card statement) and your payment card information, such
                       as cardholder name, card number, expiration date and billing address. Learn
                       more about payments on lnstagram.




                       Integrated partners
                       When you choose to use integrated partners' products or services, they may
                       receive information about you and your activity.        policy.



                    Vendors


https://mbasic.facebook.com/privacy/policy/printable/                                                                           48/97


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                       Measurement vendors
                       We don't create every measurement and analytics report ourselves.

                       We share information (like whether people saw an ad or engaged with it) with
                       our measurement vendors[60l, who aggregate it to provide their reports.

                       For example, an advertiser might ask a measurement vendor to help figure out
                       the impact its ads on Facebook have had on sales. The measurement vendor
                       compares information from us about clicks on the advertiser's Facebook ads
                       with information from the advertiser about product purchases. Then the mea-
                       surement vendor creates and provides aggregated reports that show the adver-
                       tiser how its ads are performing.




                       Marketing vendors

                       We share information about you with marketing vendorsl61 l. For example, we
                       share your device identifier or other identifiers with marketing vendors to help
                       us serve you ads most relevant to your interests.

                       Marketing vendors support our marketing and advertising efforts by:

                       • Serving our advertisements across the internet, including on mobile, desktop
                         and connected television devices

                       • Tracking and categorizing your online and mobile app activity

                       • Providing us information about your interests and commun ity and advertising
                         interactions

                       These marketing vendors help us understand who might find our advertising
                       most relevant to their interests, and which of our Products might interest you.
                       This information can be used to personalize which of our ads are shown to you.
                       Marketing vendors also use this information to measure response to our mar-
                       keting efforts and the effectiveness of our advertising.

                                morel62 l about how to manage the Meta ads you see off our Products.



                    Service providers

                       Service providers
                       Service providers provide services to us that help us provide our Products to
                       you . We share the information we have about you to receive these services,
                       which include:

                       • Investigating suspicious activity

https://mbasic.facebook.com/privacy/policy/printable/                                                                           49/97


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                       • Detecting and stopping threats to our personnel and property

                       • Facilitating payments

                       • Providing customer support

                       • Improving the functionality of our Products

                       • Providing technical infrastructure services

                       • Analyzing how our Products are used

                       • Conducting research and surveys

                       • Marketing and promoting our Products


                   Third parties

                       External researchers
                       We provide information to external researchers . They use it to conduct re-
                       search that advances scholarship and innovation , and to promote safety, secu-
                       rity and integrity.

                       Research goals include supporting:

                       • Our business or mission

                       • Social good.                   more.

                       • Technological advancement

                       • Safety and security on our Products

                       • Public interest

                       • Health and well-being

                       When sharing information with external researchers , we ensure the privacy of
                       our users is protected .    more about the privacy-safe research we support.



                    Other third parties

                   We also share information with other third parties[54 l in response to legal requests,
                   to comply with applicable law or to prevent harm . Read the policy.

                   And if we sell or transfer all or part of our business to someone else, in some cases
                   we'll give the new owner your information as part of that transaction, but only as the
                   law allows.

https://mbasic.facebook.com/privacy/policy/printable/                                                                                   50/97


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                       53


                       Partner

                       A person, business, organization or body using or integrating our Products to
                       advertise , market or support their products and services




                       54


                       Third party

                       A person, business, organization or body that is not part of the Meta
                       Compan ies




                       55


                       General demographics and interests

                       For example, a bike shop creates a Page on Facebook and wants to place an
                       ad to reach an audience of people in Atlanta interested in cycling . We deter-
                       mine whether someone fits in this audience based on, for example, whether
                       they liked a Page about bikes. Then people in that audience could see the bike
                       shop's ad .

                       You can see the "interests" assigned to you in your ad nn::,,te:, r e:,n ,~e:,c: and remove
                       them if you want.

                       The bike shop can then see reports showing aggregated statistics about the
                       audience seeing their ads and how their ads are performing. The reports would
                       show statistics to the advertiser that, for example, most of the people who saw
                       or clicked on their ad :

                       • Were women

                       • Were between the ages of 25 and 34

                       • Clicked on the ad from their phone



                       56


                       When you might give us permission
https://mbasic.facebook.com/privacy/policy/printable/                                                                           51/97


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                       For example, you might request more information from a business by clicking
                       their ad in your Facebook Feed and submitting a form with your name and con-
                       tact information . Then the advertiser would receive the information you
                       provided.




                       57




                       This policy describes the information we, Meta Platforms, Inc., process to pro-
                       vide Meta Products. Meta Products, which we also call "Products," include:

                       • Facebook

                       • Messenger

                       • lnstagram (including apps like Boomerang and Threads)

                       • Facebook Portal products

                       • Meta Platforms Technologies Products , such as Meta Horizon Worlds or
                         Meta Quest (when using a Facebook or Meta account)

                       • Shops

                       • Marketplace

                       • SparkAR

                       • Meta Business Tools

                       • Meta Audience Network

                       • Facebook View

                       • Meta Pay

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                       • Meta checkout experiences


                       Some of our Products also have a supplemental privacy policyl63 l that adds to
                       the information provided in this policy.




                       58


                       Transactions you might make
                       • Subscribing to premium content

                       • Buying, selling or using products

                       • Buying, selling or using services

                       • Donating to charities



                       59


                       Commerce services platforms

                       Commerce services platforms provide a range of commerce services,
                       including:

                       • Payments

                       • Marketing

                       • Shipping

                       • Customer engagement tools



                       60


                       Measurement vendor

                       A third party that creates reports to help advertisers understand how their con-
                       tent and ads are performing. These reports also measure whether people took
                       an action after seeing an ad .




                       61


https://mbasic.facebook.com/privacy/policy/printable/                                                                           53/97


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                       Marketing vendor

                       A third party that helps market or advertise Meta and our Products, measures
                       the effectiveness of our own marketing campaigns and performs advertising
                       research




                       62


                       Manage the ads you see on our Products

                       Visit your ad preferences.


                       Manage Meta ads you see off our Products

                       We advertise our own products and services on non-Meta ad platforms. We
                       use marketing vendors to deliver these ads. Here's how to opt out of our tai-
                       lored ads you see off our Products:

                       • Cookie-based opt out: If applicable and available in your jurisdiction , you
                         may use the Digital Advertising Alliance industry opt-out platform , available
                         in English and Spanish. Residents of Canada may use the Digital
                         Advertising Alliance of Canada industry opt-out platform . If you apply certain
                         ad blockers and tools to restrict cookies, it may interfere with your ability to
                         opt out.

                       • Mobile phone-based opt out: Check your mobile device settings. Different
                         manufacturers provide different ways to opt out of advertisements.

                       • Other online identifiers: You may use the NAI industry opt-out platform.



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                       Supplemental policies

                          Facebook Portal products


                          Facebook View


                          Free Basics


                          Meta Platforms Technologies Products




https://mbasic.facebook.com/privacy/policy/printable/                                                                           54/97


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                          Oversight Board




                    How do the Meta Companies work together?

                       Highlights

                       • Meta owns Facebook, lnstagram , Messenger, Portal and the other Products
                         covered by this policy

                       • Meta also owns the Meta Companies, which include WhatsApp

                       • Sometimes we share information within these Companies

                       • We do this to make new features or shared experiences between different
                         products. Then you can do things like use WhatsApp to chat on Portal.

                       • We also share information , like your name and email address, to help verify
                         your accounts, and check out suspicious activities. This helps us keep your
                         accounts safe.




                   We are part of the Meta Companies that provide Meta Company Products. Meta
                   Company Products include all the Meta Productsl64 l covered by this Policy, plus
                   other products like WhatsApp, Novi and more.

                   We share information we collect, infrastructure, systems and technology with the
                   other Meta Companies. Learn more about how we transfer information to other
                   countries.

                    We also process information that we receive about you from other Meta Companies,
                    according to their terms and policies and as permitted by applicable law. In some


https://mbasic.facebook.com/privacy/policy/printable/                                                                           55/97


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                   cases , Meta acts as a service provider[65l for other Meta Compan ies. We act on
                   their behalf and in accordance with their instructions and terms.


                    Why we share across the Meta Companies

                    Meta Products share information with other Meta Companies:

                    • To promote safety, security and integrity and comply with applicable laws

                    • To personalize offers, ads and other sponsored or commercial content

                    • To develop and provide features and integrations

                    • To understand how people use and interact with Meta Company Products


                    See some examples[66l of why we share.


                    More resources

                      Review the privacy pol icies of the other Meta Compan ies
                                     Center



                       64




                       This policy describes the information we, Meta Platforms, Inc., process to pro-
                       vide Meta Products. Meta Products, which we also call "Products," include:

                       • Facebook

                       • Messenger

                       • lnstagram (including apps like Boomerang and Threads)

https://mbasic.facebook.com/privacy/policy/printable/                                                                           56/97


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                       • Facebook Portal products

                       • Meta Platforms Technologies Products , such as Meta Horizon Worlds or
                         Meta Quest (when using a Facebook or Meta account)

                       • Shops

                       • Marketplace

                       • SparkAR

                       • Meta Business Tools

                       • Meta Audience Network

                       • Facebook View

                       • Meta Pay

                       • Meta checkout experiences


                       Some of our Products also have a supplemental privacy policyl67 l that adds to
                       the information provided in this policy.




                       65


                       Service provider

                       A person, business, organization or body that provides services to Meta or to
                       our users on behalf of Meta . For example , our service providers do things like
                       investigate suspicious activity and provide customer support.




                       66


                       Why we share across the Meta Companies
                       Promoting safety, security and integrity and complying with applicable
                       law

                       For example, we share information with Meta Companies that provide financial
                       products and services to help them promote safety, security and integrity and
                       comply with applicable law. This includes:

                       • Complying with their legal obligations

                       • Helping keep you and others safe

https://mbasic.facebook.com/privacy/policy/printable/                                                                           57/97


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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                       • Performing account verification

                       • Investigating suspicious activities

                       • Creating analytics

                       For these purposes, we might share your name , email address, who you're
                       friends with and other account information within the Meta Companies.

                       Developing and providing features and integrations

                       For example, where available in your country, you can choose to use certain in-
                       tegrations that connect your WhatsApp experiences with other Meta Company
                       Products. These integrations let you do things like:

                       • Use your Meta Pay account to pay for things on WhatsApp

                       • Chat with your friends on other Meta Company Products, such as Portal , by
                         connecting your WhatsApp account

                       We also share information with Meta Companies to support innovation . For ex-
                       ample, your videos can help train our products to recognize objects, like trees,
                       or activities, like when a dog chases a ball. They can also help train tools that
                       let people and businesses create content, like images and videos. This tech-
                       nology is used to help us offer new products or features in the future .

                       Understanding how people use our products

                       We count the number of unique users, monthly active users and daily active
                       users on our products. This information helps us understand the community us-
                       ing our products and publicly share important trends about how our products
                       are used .




                       67


                       Supplemental policies

                          Facebook Portal products


                          Facebook View


                          Free Basics


                          Meta Platforms Technologies Products



https://mbasic.facebook.com/privacy/policy/printable/                                                                           58/97


                                                                                                                     PTRN-STARK_004853
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data


                          Oversight Board




                    How can you manage or delete your information
                    and exercise your rights?

                       Highlights

                       • You have rights to view and download the information we have about you

                       • You can use the settings in this section to manage your privacy

                       • You also can delete your account or specific account information, if you want
                         to



                   We offer you a variety of tools to view, manage, download and delete your informa-
                   tion below. You can also manage your information by visiting the settings of the
                   Products you use. You may also have other privacy rights under applicable laws.

                   To exercise your rights, visit our Help Centers, your settings for Facebook and
                   lnstagram and your device-based settings.


                   Take a privacy checkup

                                   Take a privacy checkup
                                   Be guided through Facebook privacy settings



                    View and manage your information

                              Access your information                                                                  >
                              Off-Facebook activity                                                                  © >
                              Ad preferences (681                                                                      >
                              Manage your data



                    Port, download or delete your information

                      ~ Port your information (691                                                                     >
https://mbasic.facebook.com/privacy/policy/printable/                                                                            59/97


                                                                                                                      PTRN-STARK_004854
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                       6      Download your information
                                                                                                                      >
                      @ Delete your information or account [?OJ                                                       >
                   You can learn more about how privacy works on Facebook and on lnstagram, and in
                   the Facebook Help Center. If you have questions about this policy, you can contact
                   us as described below. In some countries, you may also be able to contact the Data
                   Protection Officer for Meta Platforms, Inc., and depending on your jurisdiction, you
                   may also contact your local Data Protection Authority ("DPA") directly.



                       68


                       Manage the ads you see on our Products



                       Manage Meta ads you see off our Products

                       We advertise our own products and services on non-Meta ad platforms. We
                       use marketing vendors to deliver these ads. Here's how to opt out of our tai-
                       lored ads you see off our Products:

                       • Cookie-based opt out: If applicable and available in your jurisdiction , you
                         may use the Digital Advertising Alliance industry opt-out platform , available
                         in English and Spanish. Residents of Canada may use the Digital
                         Advertising Alliance of Canada industry opt-out platform . If you apply certain
                         ad blockers and tools to restrict cookies, it may interfere with your ability to
                         opt out.

                       • Mobile phone-based opt out: Check your mobile device settings. Different
                         manufacturers provide different ways to opt out of advertisements.

                       • Other online identifiers: You may use the NAI industry opt-out platform.



                       69


                       Port your information

                       In certain cases and subject to applicable law, you have the right to port your
                       information.




                       70

https://mbasic.facebook.com/privacy/policy/printable/                                                                           60/97


                                                                                                                     PTRN-STARK_004855
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                       Delete your information or account

                       To delete your information , you can :

                       • Find and delete specific information. We offer tools you can use to delete
                         certain information. For example, you can use Delete buttons to delete con-
                         tent you've posted to your account. You can also use tools like activity log on
                         Facebook to send content to the trash in bulk. When you delete content, it's
                         no longer visible to other users. Visit the Facebook Help        or lnstagram
                         Help Center to learn what happens when you delete your content or move it
                         to

                       • Permanently delete your account. If you delete your account on Facebook
                         or lnstagram , we delete your information, including the things you've posted,
                         such as your photos and status updates, unless we need to keep it as de-
                         scribed in "How long do we keep your information?" Once your account is
                         permanently deleted you won't be able to reactivate it, and you won't be able
                         to retrieve information , including content you've posted .

                       How long does it take to delete your information?

                       If you request that we delete your account or content, it may take up to 90 days
                       to delete your information after we begin the account deletion process or re-
                       ceive a content deletion request. After the information is deleted, it may take us
                       up to another 90 days to remove it from backups and disaster recovery.

                       If you leave your deleted content in your trash on Facebook or your Recently
                       Deleted folder on lnstagram , the deletion process will begin automatically in 30
                       days. Or you can start the deletion process right away by deleting the content
                       from your trash or Recently Deleted folder.



                    How long do we keep your information?

                       Highlights

                       • We keep information for as long as we need it to provide a feature or service

                       • But you can request that we delete your information

                       • We'll delete that information unless we have to keep it for something else,
                         like for legal reasons



                   We keep information as long as we need it to provide our Products, comply with le-
                   gal obligations or protect our or other's interests. We decide how long we need infor-
                   mation on a case-by-case basis. Here's what we consider when we decide:


https://mbasic.facebook.com/privacy/policy/printable/                                                                           61/97


                                                                                                                     PTRN-STARK_004856
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                    • If we need it to operate or provide our Products. For example, we need to keep
                       some of your information to maintain your account.                        more[71 l.

                    • The feature we use it for, and how that feature works. For example, messages
                      sent using Messenger's vanish mode are retained for less time than regular mes-
                       sages. Learn

                    • How long we need to retain the information to comply with certain legal obliga-
                       tions. See some examples[ 73 l_

                    • If we need it for other legitimate purposes, such as to prevent harm; investigate
                      possible violations of our terms or policies; promote safety, security and integrity;
                      or protect ourselves, including our rights, property or products

                    In some instances and for specific reasons, we'll keep information for an extended
                    period of time. Read our policy(74 l about when we may preserve your information .


                       71


                       If we need it to operate or provide our Products

                       For example, we keep profile information, photos you've posted (and not
                       deleted) and security information for the lifetime of your account.

                       And when you search for something on Facebook, we keep your search history
                       until you clear the search in your activity log or delete your account. Once you
                       clear a search or delete your account, it will no longer be visible to you, and it
                       will be deleted[ 75l_

                       But even if you don't clear your search or delete your account, within six
                       months of your search we delete information about that search that isn't neces-
                       sary to show you your search history, like information about the device you
                       were using, or your location.




                       72


                            The feature we use it for, and how that feature works




https://mbasic.facebook.com/privacy/policy/printable/                                                                           62/97


                                                                                                                     PTRN-STARK_004857
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data




                            For example, May is planning a surprise party for Yang. She sends
                            Cynthia the party details in Messenger using vanish mode so that
                            the message will disappear. The message will no longer be visible to
                            May once she leaves the chat, and Cynthia will see the message only
                            the first time she opens the chat thread.

                            After Cynthia reads the message, the content is deleted after one
                            hour. If Cynthia never reads it, it's deleted after 14 days.




                       73


                       How long we need to retain the information to comply
                       with certain legal obligations

                       For example, we retain information for as long as we need it for:

                       • A legal request or obl igation , including obl igations of Meta Companies or to
                         comply with applicable law

                       • A governmental investigation

                       • A legal claim , complaint, litigation or regulatory proceedings



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                       Why we may preserve your information longer

                       Your information , including financial transaction data related to purchases or
                       money transfers made on our Products, may be preserved and accessed for a
                       longer time period if it's related to any of the following:


https://mbasic.facebook.com/privacy/policy/printable/                                                                           63/97


                                                                                                                     PTRN-STARK_004858
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                       • A legal request or obl igation , including obl igations of Meta Companies or to
                         comply with applicable law

                       • A governmental investigation

                       • An investigation of possible violations of our terms or policies

                       • To prevent harm

                       • For safety, security and integrity purposes

                       • To protect ourselves, including our rights, property or products

                       • If it's needed in relation to a legal claim, complaint, litigation or regulatory
                         proceedings


                       See some examples[76 l_

                       In some cases , we may preserve your information based on the above reasons
                       even after you request deletion of your account or some of your content. We
                       may also preserve information from accounts that have been disabled and con-
                       tent that has been removed for violations of our terms and policies.




                       75


                       Delete your information or account

                       To delete your information , you can:

                       • Find and delete specific information. We offer tools you can use to delete
                         certain information. For example, you can use Delete buttons to delete con-
                         tent you've posted to your account. You can also use tools like activity log on
                         Facebook to send content to the trash in bulk. When you delete content, it's
                         no longer visible to other users. Visit the Facebook Help Center or lnstagram
                         Help         to learn what happens when you delete your content or move it
                         to trash .

                       • Permanently delete your account. If you delete your account on
                         or lnstagram , we delete your information, including the th ings you've posted,
                         such as your photos and status updates, unless we need to keep it as de-
                         scribed in "How long do we keep your information?" Once your account is
                         permanently deleted you won't be able to reactivate it, and you won't be able
                         to retrieve information , including content you've posted .

                       How long does it take to delete your information?

                       If you request that we delete your account or content, it may take up to 90 days
                       to delete your information after we begin the account deletion process or re-
https://mbasic.facebook.com/privacy/policy/printable/                                                                           64/97


                                                                                                                     PTRN-STARK_004859
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                       ceive a content deletion request. After the information is deleted, it may take us
                       up to another 90 days to remove it from backups and disaster recovery.

                       If you leave your deleted content in your trash on Facebook or your Recently
                       Deleted folder on lnstagram , the deletion process will begin automatically in 30
                       days. Or you can start the deletion process right away by deleting the content
                       from your trash or Recently Deleted folder.




                       76


                       Examples of why we might preserve your information
                       To respond to a legal request

                       For example, we might preserve your information after you delete your account
                       when we receive a valid legal request, such as a preservation order or search
                       warrant, related to your account.

                       To comply with applicable law

                       For example, we preserve certain information about purchases or transactions
                       associated with an account, in line with Meta's accounting obl igations.

                       For safety, security and integrity purposes

                       For example, if we disable an account for violating our terms or policies, we
                       preserve information about that user to prevent them from opening a new
                       account.

                       We also might preserve some of your account information as part of our review
                       of suspicious activity. This includes any suspicious activity associated with our
                       financial products, like suspected money laundering or terrorist funding.

                       For litigation

                       We may preserve your information where we deem it necessary for reasons re-
                       lated to a legal claim or complaint. For example, we may be required to defend
                       ourselves in legal proceedings in a claim related to your information.



                    How do we transfer information?

                       Highlights



https://mbasic.facebook.com/privacy/policy/printable/                                                                           65/97


                                                                                                                     PTRN-STARK_004860
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                       • Because we connect people all around the world , we need to transfer infor-
                         mation all around the world, too

                       • When we do this , we follow international regulations to keep your information
                         safe




                       Why is information transferred to other countries?
                       We share the information we collect globally, both internally across our offices
                       and data centers, and externally with our partnersl77l , measurement
                       vendors[78 l, ca,-,,,,... 0 providersl79l and other third parties[SO] _Because Meta is
                       global, with users, partners and employees around the world, transfers are nec-
                       essary for a variety of reasons, including:

                       • So we can operate and provide the services stated in the terms of the Meta
                           Product[81 l you're using and this Policy. This includes allowing you to share
                           information and connect with your family and friends around the globe.

                       • So we can fix, analyze and improve our Products




                       Where is information transferred?
                       Your information will be transferred or transmitted to, or stored and processed
                       in :

                       • Places we have infrastructure or data centers , including the United States,
                         Ireland , Denmark and Sweden, among others

                       • Countries where Meta Company Products are available

                       • Other countries where our partners, vendors, service providers and other
                         third parties are located outside of the country where you live, for purposes
                         as described in this Policy




                       How do we safeguard your information?

                       We rely on appropriate mechanismsl82 l for international data transfers .

                       We also make sure that appropriate safeguards are in place whenever we
                       transfer your information. For example, we encrypt your information when it's in
                       transit over publ ic networks to protect it from unauthorized access.

                       More resources


                          How information is safeguarded as it's transferred
https://mbasic.facebook.com/privacy/policy/printable/                                                                           66/97


                                                                                                                     PTRN-STARK_004861
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                          Facebook Newsroom




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                       Partner

                       A person, business, organization or body using or integrating our Products to
                       advertise , market or support their products and services




                       78


                       Measurement vendor

                       A third party that creates reports to help advertisers understand how their con-
                       tent and ads are performing. These reports also measure whether people took
                       an action after seeing an ad .




                       79


                       Service provider

                       A person, business, organization or body that provides services to Meta or to
                       our users on behalf of Meta . For example , our service providers do th ings like
                       investigate suspicious activity and provide customer support.




                       80


                       Third party

                       A person, business, organization or body that is not part of the Meta
                       Companies




                       81


                       What Products does this policy cover?


https://mbasic.facebook.com/privacy/policy/printable/                                                                           67/97


                                                                                                                     PTRN-STARK_004862
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data




                       This policy describes the information we, Meta Platforms, Inc., process to pro-
                       vide Meta Products. Meta Products, which we also call "Products," include:

                       • Facebook

                       • Messenger

                       • lnstagram (including apps like Boomerang and Threads)

                       • Facebook Portal products

                       • Meta Platforms Technologies Products , such as Meta Horizon Worlds or
                         Meta Quest (when using a Facebook or Meta account)

                       • Shops

                       • Marketplace

                       • SparkAR

                       • Meta Business Tools

                       • Meta Aud ience Network

                       • Facebook View

                       • Meta Pay

                       • Meta checkout experiences


                       Some of our Products also have a supplemental privacy policy[83 l that adds to
                       the information provided in th is policy.




                       82



https://mbasic.facebook.com/privacy/policy/printable/                                                                           68/97


                                                                                                                     PTRN-STARK_004863
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                       Mechanisms we use for global data transfers

                       We rely on appropriate mechanisms for international data transfers. For exam-
                       ple, for information we collect:

                       • We utilize standard contractual clauses approved by the European
                         Commission and by other relevant authorities.

                       • We rely on determinations from the European Commission, and from other
                         relevant authorities, about whether other countries have adequate levels of
                         data protection .

                       • We use equivalent mechanisms under applicable laws that apply to data
                         transfers to the United States and other relevant countries.



                       83


                       Supplemental policies

                          Facebook Portal products


                          Facebook View


                          Free Basics


                          Meta Platforms Technologies Products


                          Oversight Board




                    How do we respond to legal requests, comply
                    with applicable law and prevent harm?

                       Highlights

                       • Sometimes we have to provide information to respond to legal requests
                         when necessary

                       • If there's a law that says we need to keep your information for some reason,
                         we need to comply with it. So we'll keep information to obey that law.

                       • We also sometimes keep information that we think will help prevent or stop
                         bad activity, either on our Products or in the world


https://mbasic.facebook.com/privacy/policy/printable/                                                                           69/97


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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                    We access, preserve, use and share your information:

                    • In response to legal requests, like search warrants, court orders, production or-
                       ders or subpoenas. These requests come from third parties[ 84 l such as civil liti-
                       gants, law enforcement and other government authorities .                          more[85 l about
                       when we respond to legal requests .

                    • In accordance with applicable law

                    • To promote the safety, security and integrity of Meta Productsl86 l, users, employ-
                       ees, property and the public.              morel87 l.

                    We may access or preserve your information for an extended amount of time.
                    more[88 l.


                       84


                       Third party

                       A person, business, organization or body that is not part of the Meta
                       Companies




                       85


                       When we respond to legal requests

                       We respond to legal requests where we're requ ired by law to do so , and at
                       times where we're not compelled by law, but a response :

                       • May affect users in that jurisdiction , and

                       • Is consistent with internationally recogn ized standards including, for exam-
                         ple, our Corporate Human Rights Policy.

                       Learn more about government requests and how we've responded.




                       86


                       What Products does this policy cover?



https://mbasic.facebook.com/privacy/policy/printable/                                                                           70/97


                                                                                                                     PTRN-STARK_004865
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data




                       This policy describes the information we, Meta Platforms, Inc., process to pro-
                       vide Meta Products. Meta Products, which we also call "Products," include:

                       • Facebook

                       • Messenger

                       • lnstagram (including apps like Boomerang and Threads)

                       • Facebook Portal products

                       • Meta Platforms Technologies Products , such as Meta Horizon Worlds or
                         Meta Quest (when using a Facebook or Meta account)

                       • Shops

                       • Marketplace

                       • SparkAR

                       • Meta Business Tools

                       • Meta Aud ience Network

                       • Facebook View

                       • Meta Pay

                       • Meta checkout experiences


                       Some of our Products also have a supplemental privacy policy[89 l that adds to
                       the information provided in th is policy.




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https://mbasic.facebook.com/privacy/policy/printable/                                                                           71/97


                                                                                                                     PTRN-STARK_004866
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                       How we promote safety, security and integrity

                       We share your information with law enforcement, government authorities, Meta
                       Companies and other th ird parties (including industry peers) when we have a
                       good faith belief it's necessary to detect, prevent and address a variety of situa-
                       tions, such as:


                       • Unauthorized use of our Products.                 an example_[9o1

                       • Violations of our terms and policies. See an example) 91 l

                       • Investigating suspicious activity

                       • Protecting ourselves, including our rights, property, personnel or Products

                       • Preventing abuse, fraud, or other harmful or illegal activity, on and off our
                         Products

                       • Protecting you or others, including as part of investigations or regulatory
                         inquiries

                       • Emergency situations, such as risk of death or imminent bodily harm



                       88


                       Why we may preserve your information longer

                       Your information , including financial transaction data related to purchases or
                       money transfers made on our Products, may be preserved and accessed for a
                       longer time period if it's related to any of the following:

                       • A legal request or obl igation , including obl igations of Meta Companies or to
                         comply with applicable law

                       • A governmental investigation

                       • An investigation of possible violations of our terms or policies

                       • To prevent harm

                       • For safety, security and integrity purposes

                       • To protect ourselves, including our rights, property or products

                       • If it's needed in relation to a legal claim, complaint, litigation or regulatory
                         proceedings


                       See some examples[92 l.

https://mbasic.facebook.com/privacy/policy/printable/                                                                           72/97


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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                       In some cases , we may preserve your information based on the above reasons
                       even after you request deletion of your account or some of your content. We
                       may also preserve information from accounts that have been disabled and con-
                       tent that has been removed for violations of our terms and policies.




                       89


                       Supplemental policies

                          Facebook Portal products


                          Facebook View


                          Free Basics


                          Meta Platforms Technologies Products


                          Oversight Board




                       90


                       Unauthorized use of our Products

                       For example, if you unlawfully collect and use Facebook user data, we may
                       share your information to defend ourselves against claims or in litigation .




                       91


                       Violations of our terms and policies

                       For example, if you post threaten ing or harmful content, we may share your in-
                       formation across the Meta Companies to protect ourselves and others. This
                       can include blocking your access to certain features or disabling your account
                       across the Meta Companies.




                       92


                       Examples of why we might preserve your information
https://mbasic.facebook.com/privacy/policy/printable/                                                                           73/97


                                                                                                                     PTRN-STARK_004868
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                       To respond to a legal request

                       For example, we might preserve your information after you delete your account
                       when we receive a valid legal request, such as a preservation order or search
                       warrant, related to your account.

                       To comply with applicable law

                       For example, we preserve certain information about purchases or transactions
                       associated with an account, in line with Meta's accounting obligations.

                       For safety, security and integrity purposes

                       For example, if we disable an account for violating our terms or policies, we
                       preserve information about that user to prevent them from opening a new
                       account.

                       We also might preserve some of your account information as part of our review
                       of suspicious activity. This includes any suspicious activity associated with our
                       financial products, like suspected money laundering or terrorist funding.

                       For litigation

                       We may preserve your information where we deem it necessary for reasons re-
                       lated to a legal claim or complaint. For example, we may be required to defend
                       ourselves in legal proceedings in a claim related to your information.



                    How will you know the policy has changed?
                    We'll notify you before we make material changes to this Policy. You'll have the op-
                    portunity to review the revised Policy before you choose to continue using our
                    Products.


                    Privacy notice for United States residents
                    You can learn more about the consumer privacy rights that may be available to you
                    by reviewing the United States Regional Privacy Notice .


                    How to contact Meta with questions
                   You can learn more about how privacy works on Facebook and on lnstagram and in
                   the Facebook Help Center. If you have questions about this Policy or have ques-
                   tions, complaints or requests regarding your information , you can contact us as de-
                   scribed below.

                    You can contact us online or by mail at:

https://mbasic.facebook.com/privacy/policy/printable/                                                                           74/97


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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                   Meta Platforms, Inc.
                   ATTN: Privacy Operations
                   1601 Willow Road
                   Menlo Park, CA 94025


                    Why and how we process your information
                   The categories of information we use, and why and how information is processed ,
                   are set out below:



                                                                                   Information categories we use
                                                                                    (see 'What Information do we
                                                                                   collect?' for more information
                                                                                   on each information category)
                      Why and how we process your information
                                                                                   The actual information we use
                                                                                     depends on your factual cir-
                                                                                   cumstances, but could include
                                                                                         any of the following:




                     Personalizing the Meta Products[93 l (other                  Your activity and information
                     than ads, see below): Our systems auto-                      you provide:
                     matically process information we collect
                                                                                  • Content you create, like
                     and store associated with you and others
                                                                                    posts, comments or audio
                     to assess and understand your interests
                     and your preferences and provide you per-                    • Content you provide through
                     sonalized experiences across the Meta                          our camera feature or your
                     Products in accordance with ou r terms.                        camera roll settings, or
                     This is how we:                                                through our voice-enabled
                                                                                    features
                      • Personalize features and content (such
                        as your News Feed, lnstagram Feed                         • Metadata[94J about content
                        and Stories);
                                                                                  • Types of content you view or
                      • Make suggestions for you (such as peo-
                                                                                    interact with, and how you
                        ple you may know, groups or events that
                                                                                    interact with it
                        you may be interested in or topics that
                        you may want to follow) on and off our                    • Apps and features you use,
                        products.                                                   and what actions you take in
                                                                                    them
                     Learn more about how we use information
                     about you to personalize your experience                     • Purchases or other transac-
                     on and across Meta Products and how we                         tions you make
                     choose the ads that you see.
                                                                                  • Hashtags you use



https://mbasic.facebook.com/privacy/policy/printable/                                                                           75/97


                                                                                                                     PTRN-STARK_004870
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                                                                                  • The time, frequency and du-
                                                                                    ration of your activities on
                                                                                    our Products

                                                                                  Friends, followers and other
                                                                                  connections

                                                                                  App, browser and device
                                                                                  information:

                                                                                  • Device[95 l characteristics
                                                                                    and device software

                                                                                  • What you're doing on your
                                                                                    device, like whether our app
                                                                                    is in the foreground or if your
                                                                                    mouse is moving (which can
                                                                                    help tell humans from bots)

                                                                                  • Identifiers that tell your de-
                                                                                    vice apart from other users'

                                                                                  • Device signals

                                                                                  • Information you've shared
                                                                                    through your device settings
                                                                                    (like GPS location)

                                                                                  • Location-related information

                                                                                  • Information about the net-
                                                                                    work you connect your de-
                                                                                    vice to

                                                                                  • Reports about our products'
                                                                                    performance on your device

                                                                                  • Information from cookies
                                                                                    and similar technolog ies

                                                                                  Information from partners, ven-
                                                                                  dors and third parties



                     Providing ads on the Meta Products: Our                      You r activity and information
                     systems automatically process limited cat-                   you provide:
                     egories of information that we've collected
                     and stored to provide you with ads on the                    • Age

                                                                                  • The gender you provide
https://mbasic.facebook.com/privacy/policy/printable/                                                                           76/97


                                                                                                                     PTRN-STARK_004871
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                     Meta Products in accordance with our                         • Information about ads we
                     terms.                                                         show you and how you en-
                                                                                    gage with those ads

                                                                                  App, browser and device
                                                                                  information:

                                                                                  • Location information

                                                                                  • Device characteristics and
                                                                                    device software




                     Providing and improving our Meta                             Your activity and information
                     Products: The provision of the Meta                          you provide:
                     Products includes collecting, storing, and,
                     where relevant, sharing, profiling, review-                  • Content you create, like
                     ing and cu rating, and in some instances                       posts, comments or audio
                     not only automated processing but also
                                                                                  • Your public profile informa-
                     manual (human) reviewing, to:
                                                                                    tion (including your name,
                                                                                    username and profile
                      • Create and maintain your account and
                                                                                    picture)
                        profile,
                                                                                  • Content you provide through
                      • Connect your Meta Products account,
                                                                                    our camera feature or your
                        including your public profile information,
                                                                                    camera roll settings, or
                        to an integrated partner to sign in or
                                                                                    through our voice-enabled
                        share your information,
                                                                                    featu res
                      • Facilitate the sharing of content and
                                                                                  • Messages you send and re-
                        status,
                                                                                    ceive, including their con-
                      • Provide and curate features,                                tent, subject to applicable
                                                                                    law
                      • Provide messaging services, the ability
                        to make voice and video calls and con-                    • Metadata about content and
                        nect with others,                                           messages, subject to appli-
                                                                                    cable law
                      • Provide advertising products,
                                                                                  • Types of content you view or
                      • Understand and enable creation of con-                      interact with, and how you
                        tent like text, images and videos, and                      interact with it

                      • Undertake analytics.                                      • Apps and features you use,
                                                                                    and what actions you take in
                     We also use information to develop, re-                        them
                     search and test improvements to our
                     Products. We use information we have to:                     • Purchases or other transac-
                                                                                    tions you make, including

https://mbasic.facebook.com/privacy/policy/printable/                                                                           77/97


                                                                                                                     PTRN-STARK_004872
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                                                                                      truncated credit card
                      • See if a product is working correctly,                        information

                      • Troubleshoot and fix it when it's not,                    • Hashtags you use

                      • Test out new products and features to                     • The time, frequency and du-
                        see if they work,                                           ration of your activities on
                                                                                    ou r Products
                     • Get feedback on our ideas for products
                       or features, and
                                                                                  Friends, followers and other
                                                                                  connections
                      • Conduct surveys and other research
                        about what you like about our Products
                                                                                  App, browser and device
                        and brands and what we can do better.
                                                                                  information:

                                                                                  • Device cha racteristics and
                                                                                    device software

                                                                                  • What you're doing on your
                                                                                    device, like whether our app
                                                                                    is in the foreground or if your
                                                                                    mouse is moving (which can
                                                                                    help tell humans from bots)

                                                                                  • Identifiers that tell your de-
                                                                                    vice apart from other users'

                                                                                  • Device signals

                                                                                  • Information you've shared
                                                                                    through your device settings

                                                                                  • Location-related information

                                                                                  • Information about the net-
                                                                                    work you connect your de-
                                                                                    vice to, including your IP
                                                                                      address[ 96 l

                                                                                  • Information from cookies
                                                                                    and similar technologies

                                                                                  Information from partners, ven-
                                                                                  dors and third parties



                     Promoting safety, integrity and security on                  Your activity and information
                     and across the Meta Products: The Meta                       you provide::
                     Products are designed to resea rch and

https://mbasic.facebook.com/privacy/policy/printable/                                                                           78/97


                                                                                                                     PTRN-STARK_004873
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                     help ensure the safety, integrity and secu-
                     rity of those services and those people                      • Content you create, like
                     who enjoy them, on and off Meta                                posts, comments or audio
                     Products. We process information we
                                                                                  • Content you provide through
                     have associated with you and apply auto-
                                                                                    our camera feature or your
                     mated processing techniques and, in
                                                                                    camera roll settings, or
                     some instances, conduct manual (human)
                                                                                    through our voice-enabled
                     review to:
                                                                                    features
                      • Verify accounts and activity,
                                                                                  • Messages you send and re-
                                                                                    ceive, including their con-
                      • Find and address violations of our terms
                                                                                    tent, subject to applicable
                        or policies. In some cases, the decisions
                                                                                    law
                        we make about violations are reviewed
                        by the Oversight Board,
                                                                                  • Metadata about content and
                                                                                    messages, subject to appli-
                      • Investigate suspicious activity,
                                                                                    cable law
                      • Detect, prevent and combat harmful or
                                                                                  • Types of content you view or
                        unlawful behavior, such as to review
                                                                                    interact with, and how you
                        and, in some cases, remove content re-
                                                                                    interact with it
                        ported to us,
                                                                                  • Apps and features you use,
                      • Identify and combat disparities and
                                                                                    and what actions you take in
                        racial bias against historically marginal-
                                                                                    them
                        ized communities,
                                                                                  • Purchases or other transac-
                      • Protect the life, physical or mental
                                                                                    tions you make, including
                        health, well-being or integrity of our
                                                                                    truncated credit card
                        users or others,
                                                                                    information
                      • Detect and prevent spam, other security
                                                                                  • Hashtags you use
                        matters and other bad experiences,
                                                                                  • The time, frequency and du-
                      • Detect and stop threats to our personnel
                                                                                    ration of your activities on
                        and property, and
                                                                                    our Products
                      • Maintain the integrity of our Products.
                                                                                  Friends, followers and other
                     For more information on safety, integrity                    connections
                     and security generally on Meta Products,
                     visit the Facebook Security Help Center                      App, browser and device
                     and lnstagra m Secu rity Tips.                               information:

                                                                                  • Device characteristics and
                                                                                    device software

                                                                                  • What you're doing on your
                                                                                    device, like whether our app
                                                                                    is in the foreground or if your

https://mbasic.facebook.com/privacy/policy/printable/                                                                            79/97


                                                                                                                     PTRN-STARK_00487 4
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                                                                                      mouse is moving (which can
                                                                                      help tell humans from bots)

                                                                                  • Identifiers that tell your de-
                                                                                    vice apart from other users'

                                                                                  • Device signals

                                                                                  • Information you've shared
                                                                                    through you r device settings

                                                                                  • Location-related information

                                                                                  • Information about the net-
                                                                                    work you connect your de-
                                                                                    vice to, including you r IP
                                                                                    address

                                                                                  • Information from cookies
                                                                                    and similar technologies

                                                                                  Information from partners, ven-
                                                                                  dors and third parties



                     To communicate with you: We use infor-                       Your activity and information
                     mation you've given us (like contact infor-                  you provide:
                     mation on your profile) to send you a com-
                     munication, like an e-mail or in-product no-                 • Contact information on your
                     tice, for example:                                             profile and you r communica-
                                                                                    tions with us
                     • We'll contact you via email or in-product
                                                                                  • Content you create, like
                       notifications in relation to the Meta
                                                                                    posts, comments or audio
                       Products, product-related issues, re-
                       search or to let you know about our
                                                                                  • Content you provide through
                       terms and policies.
                                                                                    ou r camera feature or you r
                                                                                    camera roll settings, or
                     We also use contact information like your
                                                                                    through our voice-enabled
                     email address to respond when you con-
                                                                                    featu res
                     tact us.
                                                                                  App, browser and device
                                                                                  information:

                                                                                  • Device cha racteristics and
                                                                                    device software

                                                                                  • What you're doing on your
                                                                                    device, like whether our app
                                                                                    is in the foreground or if your
https://mbasic.facebook.com/privacy/policy/printable/                                                                           80/97


                                                                                                                     PTRN-STARK_004875
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                                                                                      mouse is moving (which can
                                                                                      help tell humans from bots)

                                                                                  • Identifiers that tell your de-
                                                                                    vice apart from other users'

                                                                                  • Device signals

                                                                                  • Information you've shared
                                                                                    through you r device settings

                                                                                  • Location-related information

                                                                                  • Information about the net-
                                                                                    work you connect your de-
                                                                                    vice to, including you r IP
                                                                                    address

                                                                                  • Information from cookies
                                                                                    and similar technologies.



                     Transferring, storing or processing your in-                 Your activity and information
                     formation across borders, including from                     you provide:
                     and to the United States and other coun-
                     tries: We share information we collect                       • Content you create, like
                     globally, both internally across our offices                   posts, comments or audio
                     and data centers and externally with our
                                                                                  • Content you provide through
                     partners[ 97l, third parties[98 l and service                  ou r camera feature or you r
                     providers[99l. Because Meta is global, with                    camera roll settings, or
                     users, partners, vendors and employees                         through our voice-enabled
                     around the world, transfers are necessary:                     featu res

                     • To operate and provide the services de-                    • Metadata about content and
                       scribed in the terms that apply to the                       messages, subject to appli-
                       Meta Product(s) you are using. This in-                      cable law
                       cludes allowing you to share information
                       and connect with your family and friends                   • Types of content you view or
                       around the globe; and                                        interact with, and how you
                                                                                    interact with it
                     • To fix, analyze and improve our
                       Products.                                                  • Apps and features you use,
                                                                                    and what actions you take in
                     For more information, see the "How do we                       them
                     transfer information?" section of the Meta
                                                                                  • Purchases or other transac-
                     Privacy Policy.
                                                                                    tions you make, including
                                                                                    truncated credit card
                                                                                    information

https://mbasic.facebook.com/privacy/policy/printable/                                                                           81/97


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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                                                                                  • Hashtags you use

                                                                                  • The time, frequency and du-
                                                                                    ration of your activities on
                                                                                    our Products

                                                                                  Friends, followers and other
                                                                                  connections

                                                                                  App, browser and device
                                                                                  information:

                                                                                  • Device characteristics and
                                                                                    device software

                                                                                  • What you're doing on your
                                                                                    device, like whether our app
                                                                                    is in the foreground or if your
                                                                                    mouse is moving (which can
                                                                                    help tell humans from bots)

                                                                                  • Identifiers that tell your ad-
                                                                                    vice apart from other users'

                                                                                  • Device signals

                                                                                  • Information you've shared
                                                                                    through you r device settings

                                                                                  • Location-related information

                                                                                  • Information about the net-
                                                                                    work you connect your de-
                                                                                    vice to, including your IP
                                                                                    address

                                                                                  • Information from cookies
                                                                                    and similar technologies

                                                                                  Information from partners, ven-
                                                                                  dors and third parties



                     Processing information subject to special                    Your activity and information
                     protections under applicable laws that you                   you provide:
                     provide so we can share it with those you
                     choose, to provide, personalize and im-                      • Any information with special
                     prove our Products and to undertake ana-                       protections that you choose
                     lytics. We'll collect, store, publish and ap-                  to provide, such as your reli-
                                                                                    gious views, your sexual ori-
https://mbasic.facebook.com/privacy/policy/printable/                                                                           82/97


                                                                                                                     PTRN-STARK_004877
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                     ply automated, or sometimes manual (hu-                          entation, political views,
                     man), processing for these purposes.                             health, racial or ethnic ori-
                                                                                      gin, philosophical beliefs or
                                                                                      trade union membership, or
                                                                                      as part of surveys you
                                                                                      choose to participate in, and
                                                                                      where you have given your
                                                                                      explicit consent



                     Receiving and using information from third                   Your activity and information
                     parties to tailor the ads you see: We'll use                 you provide:
                     information that advertisers, businesses
                     and other partners provide us about activ-                   • Information and content you
                     ity off Meta Products that we have associ-                     provide, such as your name
                     ated with you to personalize ads that we                       or email address
                     show you on Meta Products, and on web-
                     sites, apps and devices that use our ad-                     Information from partners, ven-
                     vertising services. We receive this infor-                   dors and thi rd parties
                     mation whether or not you're logged in or
                     have an account on our Products. See the
                     Cookies Policy for more information.



                     Sharing your contact, profile or other infor-                Your activity and information
                     mation with third parties upon your re-                      you provide:
                     quest: The type of third party and cate-
                     gories of information shared depend on                       • Information such as your
                     the circumstances of what you ask us to                        contact or profile information
                     share. For example:
                                                                                  • Content you create, like
                                                                                    posts or comments
                      • We share your email (or other contact
                        information) or other information you
                        might choose when you direct us to
                        share it with an advertiser so they can
                        contact you with additional information
                        about a promoted product, and

                      • If you choose to integrate other apps,
                        games or websites with Meta Products
                        and log in, we'll share your information
                        with the app, game or website to log you
                        in.



                     Providing measurement, analytics and                         Your activity and information
                     business services:                                           you provide:
https://mbasic.facebook.com/privacy/policy/printable/                                                                           83/97


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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                     Our systems automatically, as well as with
                     some manual (human) processing,                              • Content you create, like
                     process information we have collected and                      posts, comments or audio
                     stored about you and others. We use this
                                                                                  • Content you provide through
                     information to:
                                                                                    ou r camera feature or you r
                                                                                    camera roll settings, or
                     • Provide insights and measurement re-
                                                                                    through our voice-enabled
                       ports to businesses, advertisers and
                                                                                    featu res
                       other partners to help them measure the
                       effectiveness and distribution of thei r or
                                                                                  • Types of content you view or
                       their clients' ads, content and services,
                                                                                    interact with, and how you
                       to understand the kinds of people who
                                                                                    interact with it
                       are seeing their content and ads, and
                       how thei r content and ads are perform-                    • Apps and featu res you use,
                       ing on and off Meta Products, and                            and what actions you take in
                                                                                    them
                      • Provide aggregated user analytics and
                        insights reports that help businesses,                    • Purchases or other transac-
                        advertisers and other partners better un-                   tions you make
                        derstand the audiences with whom they
                        may want to connect, as well as the                       • Hashtags you use
                        types of people who use thei r services
                        and how people interact with their web-                   • The time, frequency and du-
                        sites, apps and services.                                   ration of your activities on
                                                                                    ou r Products

                                                                                  Friends, followers and other
                                                                                  connections

                                                                                  App, browser and device
                                                                                  information:

                                                                                  • Device cha racteristics and
                                                                                    device software

                                                                                  • What you're doing on your
                                                                                    device, like whether our app
                                                                                    is in the foreground or if your
                                                                                    mouse is moving (which can
                                                                                    help tell humans from bots)

                                                                                  • Identifiers that tell your de-
                                                                                    vice apart from other users

                                                                                  • Device signals

                                                                                  • Information you've shared
                                                                                    through you r device settings

                                                                                  • Location-related information

https://mbasic.facebook.com/privacy/policy/printable/                                                                           84/97


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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                                                                                  • Information about the net-
                                                                                    work you connect your de-
                                                                                    vice to, including your IP
                                                                                    address

                                                                                  • Information from cookies
                                                                                    and similar technologies



                     Sharing of information across the Meta                       Your activity and information
                     Companies:                                                   you provide:

                      • To provide a seamless, consistent and                     • Content you create, like
                        richer, innovative experience across the                    posts, comments or audio
                        Meta Company Products to enable
                                                                                  • Content you provide through
                        cross app interactions, sharing, viewing
                                                                                    our camera feature or your
                        and engaging with content, including
                                                                                    camera roll settings, or
                        posts and videos.
                                                                                    through our voice-enabled
                                                                                    features

                                                                                  • Metadata about content

                                                                                  • Types of content you view or
                                                                                    interact with, and how you
                                                                                    interact with it

                                                                                  • Apps and features you use,
                                                                                    and what actions you take in
                                                                                    them

                                                                                  • Purchases or other transac-
                                                                                    tions you make

                                                                                  • Hashtags you use

                                                                                  • The time, frequency and du-
                                                                                    ration of your activities on
                                                                                    our Products

                                                                                  Friends, followers and other
                                                                                  connections

                                                                                  App, browser and device
                                                                                  information:

                                                                                  • Device characteristics and
                                                                                    device software



https://mbasic.facebook.com/privacy/policy/printable/                                                                           85/97


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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                                                                                  • What you're doing on your
                                                                                    device, like whether our app
                                                                                    is in the foreground or if your
                                                                                    mouse is moving (which can
                                                                                    help tell humans from bots)

                                                                                  • Identifiers that tell your de-
                                                                                    vice apart from other users'

                                                                                  • Device signals

                                                                                  • Information you've shared
                                                                                    through your device settings

                                                                                  • Location-related information

                                                                                  • Information about the net-
                                                                                    work you connect your de-
                                                                                    vice to, including you r IP
                                                                                    address

                                                                                  • Information from cookies
                                                                                    and similar technologies


                     Business intelligence and analytics:                         Your activity and information
                                                                                  you provide:
                      • To understand, in aggregate, your us-
                        age of and across our Products, to ac-                    • Content you create, like
                        curately count people and businesses;                       posts, comments or audio
                        and
                                                                                  • Content you provide through
                      • To validate metrics directly related to                     ou r camera feature or you r
                        these, in order to inform and improve                       camera roll settings, or
                        product direction and development and                       through our voice-enabled
                        to adhere to (shareholder/earning) re-                      featu res
                        porting obligations.
                                                                                  • Metadata about content and
                                                                                    messages, subject to appli-
                                                                                    cable law

                                                                                  • Types of content you view or
                                                                                    interact with, and how you
                                                                                    interact with it

                                                                                  • Apps and features you use,
                                                                                    and what actions you take in
                                                                                    them

                                                                                  • Purchases or other transac-
                                                                                    tions you make

https://mbasic.facebook.com/privacy/policy/printable/                                                                           86/97


                                                                                                                     PTRN-STARK_004881
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                                                                                  • Hashtags you use

                                                                                  • The time, frequency and du-
                                                                                    ration of your activities on
                                                                                    our Products

                                                                                  Friends, followers and other
                                                                                  connections

                                                                                  App, browser and device
                                                                                  information:

                                                                                  • Device characteristics and
                                                                                    device software

                                                                                  • What you're doing on your
                                                                                    device, like whether our app
                                                                                    is in the foreground or if your
                                                                                    mouse is moving (which can
                                                                                    help tell humans from bots)

                                                                                  • Identifiers that tell your de-
                                                                                    vice apart from other users'

                                                                                  • Device signals

                                                                                  • Information you've shared
                                                                                    through you r device settings

                                                                                  • Location-related information

                                                                                  • Information about the net-
                                                                                    work you connect your de-
                                                                                    vice to, including your IP
                                                                                    address

                                                                                  • Information from cookies
                                                                                    and similar technologies

                                                                                  Information from partners, ven-
                                                                                  dors and third parties




                     Identifying you as a Meta Product user                       Your activity and information
                     and personalizing the ads we show you                        you provide:
                     through Meta Audience Network when you
                     visit other apps:                                            • Information you provide

                                                                                  • Content you create, like
                                                                                    posts, comments or audio
https://mbasic.facebook.com/privacy/policy/printable/                                                                           87/97


                                                                                                                     PTRN-STARK_004882
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                                                                                  • Content you provide through
                      • When we show you ads through Meta                           ou r camera featu re or you r
                        Au dience Network when you visit other                      camera roll settings, or
                        apps, our systems automatically                             through our voice-enabled
                        process the information we have col-                        featu res
                        lected and stored about you and others
                        to identify you as a Meta Product user                    • Metadata about content
                        and tailor the ads you see.
                                                                                  • Types of content you view or
                                                                                    interact with, and how you
                                                                                    interact with it

                                                                                  • Apps and features you use,
                                                                                    and what actions you take in
                                                                                    them

                                                                                  • Purchases or other transac-
                                                                                    tions you make

                                                                                  • Hashtags you use

                                                                                  • The time, frequency and du-
                                                                                    ration of your activities on
                                                                                    ou r Products

                                                                                  Friends, followers and other
                                                                                  connections

                                                                                  App, browser and device
                                                                                  information:

                                                                                  • Device cha racteristics and
                                                                                    device software

                                                                                  • What you're doing on your
                                                                                    device, like whether our app
                                                                                    is in the foreground or if your
                                                                                    mouse is moving (which can
                                                                                    help tell humans from bots)

                                                                                  • Identifiers that tell your de-
                                                                                    vice apart from other users'

                                                                                  • Device signals

                                                                                  • Information you've shared
                                                                                    through you r device settings

                                                                                  • Information about the net-
                                                                                    work you connect your de-


https://mbasic.facebook.com/privacy/policy/printable/                                                                           88/97


                                                                                                                     PTRN-STARK_004883
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                                                                                      vice to, including your IP
                                                                                      address

                                                                                  • Information from cookies
                                                                                    and similar technologies


                     Providing marketing communications to                        Your activity and information
                     you:                                                         you provide:

                      • Depending on your settings and subject                    • Information and content you
                        to applicable law, we'll share marketing                    provide, including your con-
                        communications with you.                                    tact information like email
                                                                                    address
                      • We'll collect and store your information
                        and use it to send marketing communi-                     App, browser and device
                        cations to you, like an email, subject to                 information:
                        applicable laws.
                                                                                  • Device identifiers



                      Research and innovate for social good:                      Your activity and information
                                                                                  you provide:
                      • We carry out surveys and use informa-
                        tion (including from researchers we col-                  • Content you create, like
                        laborate with) to conduct and support                       posts, comments or audio
                        research and innovation on topics of
                                                                                  • Content you provide through
                        general social welfare, technological ad-
                                                                                    our camera feature or your
                        vancement, public interest, health and
                                                                                    camera roll settings, or
                        well-being.
                                                                                    through our voice-enabled
                      • For example, we analyze information                         features
                        that we have about migration patterns
                                                                                  • Metadata about content and
                        during crises. This helps relief organiza-
                                                                                    messages, subject to appli-
                        tions get aid to the right places.
                                                                                    cable law
                      • We collect, store, combine, analyze and
                                                                                  • Types of content you view or
                        apply automatic processing techniques
                                                                                    interact with, and how you
                        like aggregation of information as well
                                                                                    interact with it
                        as manual (human) review, and share
                        information, as necessary to research
                                                                                  • Apps and features you use,
                        and innovate for social good in this way.
                                                                                    and what actions you take in
                        We do this to do things like create
                                                                                    them
                        COVI D-19 forecasting models.
                                                                                  • Purchases or other transac-
                      Learn more about our research programs.                       tions you make

                                                                                  • Hashtags you use


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                                                                                                                     PTRN-STARK_004884
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9/26/23, 9:08 AM                                        Meta Privacy Policy - How Meta collects and uses user data

                                                                                  • The time, frequency and du-
                                                                                    ration of your activities on
                                                                                    our Products

                                                                                  Friends, followers and other
                                                                                  connections

                                                                                  App, browser and device
                                                                                  information:

                                                                                  • Device characteristics and
                                                                                    device software

                                                                                  • What you're doing on your
                                                                                    device, like whether our app
                                                                                    is in the foreground or if your
                                                                                    mouse is moving (which can
                                                                                    help tell humans from bots)

                                                                                  • Identifiers that tell your de-
                                                                                    vice apart from other users'

                                                                                  • Device signals

                                                                                  • Information you've shared
                                                                                    through you r device settings

                                                                                  • Location-related information

                                                                                  • Information about the net-
                                                                                    work you connect your de-
                                                                                    vice to, including your IP
                                                                                    address

                                                                                  • Information from cookies
                                                                                    and similar technologies

                                                                                  Information from partners, ven-
                                                                                  dors and third parties



                     Anonymizing your information                                 Your activity and information
                                                                                  you provide:
                     In some cases, we anonymize information
                     we have associated with you , such as your                   • Content you create, like
                     activity on and off our Products, and use                      posts, comments or audio
                     the resulting information, for example, to
                                                                                  • Content you provide through
                     provide and improve our Meta Products,
                                                                                    our camera feature or your
                     including ads.
                                                                                    camera roll settings, or
https://mbasic.facebook.com/privacy/policy/printable/                                                                           90/97


                                                                                                                     PTRN-STARK_004885
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                                                                                      through our voice-enabled
                                                                                      featu res

                                                                                  • Metadata about content

                                                                                  • Types of content you view or
                                                                                    interact with , and how you
                                                                                    interact with it

                                                                                  • Apps and features you use,
                                                                                    and what actions you take in
                                                                                    them

                                                                                  • Purchases or other transac-
                                                                                    tions you make

                                                                                  • Hashtags you use

                                                                                  • The time, frequency and du-
                                                                                    ration of your activities on
                                                                                    ou r Products

                                                                                  Friends, followers and other
                                                                                  connections

                                                                                  App, browser and device
                                                                                  information:

                                                                                  • Device cha racteristics and
                                                                                    device software

                                                                                  • What you 're doing on your
                                                                                    device, like whether our app
                                                                                    is in the foreground or if your
                                                                                    mouse is moving (which can
                                                                                    help tell humans from bots)

                                                                                  • Identifiers that tell your de-
                                                                                    vice apart from other users'

                                                                                  • Device signals

                                                                                  • Information you 've shared
                                                                                    through you r device settings

                                                                                  • Location-related information

                                                                                  • Information about the net-
                                                                                    work you connect your de-
                                                                                    vice to, includ ing you r IP
                                                                                    address
https://mbasic.facebook.com/privacy/policy/printable/                                                                           91/97


                                                                                                                     PTRN-STARK_004886
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                                                                                  • Information from cookies
                                                                                    and similar technologies

                                                                                  Information from partners, ven-
                                                                                  dors and third parties




                     Sharing information with others, including                   Your activity and information
                     law enforcement and to respond to legal                      you provide:
                     requests.
                                                                                  • Content you create, like
                     See the "How do we respond to legal re-                        posts, comments or audio
                     quests, prevent harm and promote safety
                                                                                  • Content you provide through
                     and integrity?" section of the Meta Privacy
                                                                                    our camera feature or your
                     Policy for more for information on when we
                                                                                    camera roll settings, or
                     share information with law enforcement
                                                                                    through our voice-enabled
                     and others.
                                                                                    features
                     The categories of information we access,
                                                                                  • Metadata about content,
                     preserve, use and share depend on the
                                                                                    subject to applicable law
                     specific circumstances. For example, re-
                     sponses to legal requests where not com-                     • Types of content you view or
                     pelled by law will typically include limited                   interact with, and how you
                     information (such as contact details and                       interact with it
                     login information).
                                                                                  • Apps and features you use,
                     However, the information we process will                       and what actions you take in
                     depend on the purposes, which could in-                        them
                     clude the following:
                                                                                  • Purchases or other transac-
                      • In response to legal requests from third                    tions you make
                        parties such as civil litigants, law en-
                        forcement and other government                            • Hashtags you use
                        authorities
                                                                                  Friends, followers and other
                      • To comply with applicable law or legiti-                  connections
                        mate legal purposes
                                                                                  App, browser and device
                      • To promote the safety, security and in-                   information:
                        tegrity of Meta Companies, Meta
                        Products, users, employees, property                      • Device characteristics and
                        and the public                                              device software

                                                                                  • What you're doing on your
                     Learn more about how we promote safety,
                                                                                    device, like whether our app
                     security and integrity.
                                                                                    is in the foreground or if your
                                                                                    mouse is moving (which can
                                                                                    help tell humans from bots)

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                                                                                  • Identifiers that tell your de-
                                                                                    vice apart from other users'

                                                                                  • Device signals

                                                                                  • Information you've shared
                                                                                    through your device settings

                                                                                  • Location-related information

                                                                                  • Information about the net-
                                                                                    work you connect your de-
                                                                                    vice to, including your IP
                                                                                    address

                                                                                  • Information from cookies
                                                                                    and similar technologies

                                                                                  Information from partners, ven-
                                                                                  dors and third parties



                     For processing information when the law                      The categories of information
                     requires it: Where we are under an obliga-                   depend on the specific circum-
                     tion to disclose information such as, for ex-                stances of each mandatory re-
                     ample, if we receive a valid legal request                   quest or obligation. Only the
                     for certain information such as a search                     information necessary to com-
                     warrant, we will access, preserve and/or                     ply with the relevant legal obli-
                     share your information with regulators, law                  gation will be shared or other-
                     enforcement or others.                                       wise processed. For example,
                                                                                  for civil matters, this will typi-
                     The way in which the information will be                     cally include limited informa-
                     processed depends on the specific circum-                    tion (such as contact details
                     stances. See the "How do we respond to                       and login information).
                     legal requests, prevent harm and promote                     However, depending on the
                     safety and integrity?" section of the Meta                   circumstances it could include
                     Privacy Policy for more. "Information for                    the following:
                     Law Enforcement Authorities" provides in-
                     formation on the operational guidelines                      Your activity and information
                     law enforcement needs to follow.                             you provide:

                                                                                  • Content you create, like
                                                                                    posts, comments or audio

                                                                                  • Content you provide through
                                                                                    our camera feature or your
                                                                                    camera roll settings, or
                                                                                    through our voice-enabled
                                                                                    features

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                                                                                  • Messages you send and re-
                                                                                    ceive, including their con-
                                                                                    tent, subject to applicable
                                                                                    law

                                                                                  • Metadata about content and
                                                                                    messages, subject to appli-
                                                                                    cable law

                                                                                  • Types of content you view or
                                                                                    interact with, and how you
                                                                                    interact with it

                                                                                  • Apps and features you use,
                                                                                    and what actions you take in
                                                                                    them

                                                                                  • Purchases or other transac-
                                                                                    tions you make, including
                                                                                    truncated credit card
                                                                                    information

                                                                                  • Hashtags you use

                                                                                  • The time, frequency and du-
                                                                                    ration of your activities on
                                                                                    our Products

                                                                                  Friends, followers and other
                                                                                  connections

                                                                                       browser and device
                                                                                  information:

                                                                                  • Device characteristics and
                                                                                    device software

                                                                                  • What you're doing on your
                                                                                    device, like whether our app
                                                                                    is in the foreground or if your
                                                                                    mouse is moving (which can
                                                                                    help tell humans from bots)

                                                                                  • Identifiers that tell your de-
                                                                                    vice apart from other users'

                                                                                  • Device signals

                                                                                  • Information you've shared
                                                                                    through your device settings

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                                                                                  • Location-related information

                                                                                  • Information about the net-
                                                                                    work you connect your de-
                                                                                    vice to, including you r IP
                                                                                    address

                                                                                  • Information from cookies
                                                                                    and similar technologies

                                                                                  Information from partners, ven-
                                                                                  dors and third parties




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                       This policy describes the information we, Meta Platforms, Inc., process to pro-
                       vide Meta Products. Meta Products, which we also call "Products," include:

                       • Facebook

                       • Messenger

                       • lnstagram (including apps like Boomerang and Threads)

                       • Facebook Portal products

                       • Meta Platforms Technologies Products , such as Meta Horizon Worlds or
                         Meta Quest (when using a Facebook or Meta account)

                       • Shops

                       • Marketplace


https://mbasic.facebook.com/privacy/policy/printable/                                                                           95/97


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                       • SparkAR

                       • Meta Business Tools

                       • Meta Aud ience Network

                       • Facebook View

                       • Meta Pay

                       • Meta checkout experiences


                       Some of our Products also have a supplemental privacy policy[ 1                       that adds to
                       the information provided in th is policy.




                       94


                       Metadata
                       • Information about the content itself, like the location where a photo was
                         taken or the date a file was created

                       • Information about the message itself, like the type of message or the date
                         and time it was sent



                       95


                       Device

                       Devices include computers, phones, hardware, connected TVs, Portal devices
                       and other web-connected devices.




                       96


                       IP address

                       Stands for "internet protocol address." It's a unique number assigned to a de-
                       vice , like a phone or computer, that allows it to commun icate over the internet.
                       Numbers are assigned according to standard guidelines, or protocols.

                       Just like you need a mailing address to receive a letter from a friend , your de-
                       vice needs an IP address to receive information on the internet.


https://mbasic.facebook.com/privacy/policy/printable/                                                                           96/97


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                       Partner

                       A person, business, organization or body using or integrating our Products to
                       advertise , market or support their products and services




                       98


                       Third party

                       A person, business, organization or body that is not part of the Meta
                       Compan ies




                       99


                       Service provider

                       A person, business, organization or body that provides services to Meta or to
                       our users on behalf of Meta . For example , our service providers do th ings like
                       investigate suspicious activity and provide customer support.




                       100


                       Supplemental policies

                          Facebook Portal products


                          Facebook View


                          Free Basics


                          Meta Platforms Technologies Products


                          Oversight Board




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